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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       Case No. 16-cv-______

  FREDERICK SIEGMUND, Individually and on
  Behalf of All Others Similarly Situated,

                                        Plaintiff,

           v.

  XUELIAN BIAN, WEI GUAN,
  SIDLEY AUSTIN LLP,
  SHANGHAI YINLING ASSET
  MANAGEMENT CO., LTD.
  LEADING FIRST CAPITAL LIMITED and
  LEADING WORLD CORPORATION,


                                Defendants.
  ___________________________________________/

                                  CLASS ACTION COMPLAINT

         Plaintiff Frederick Siegmund (“Plaintiff”), by his counsel, alleges upon personal

  knowledge as to his own acts, and as to all other matters based upon the investigation conducted

  by himself and his counsel, which includes the review of filings with the Securities and

  Exchange Commission (“SEC”), discovery had in this action to date and other publicly available

  information, as follows:

  I.     INTRODUCTION

         1.      Plaintiff, individually and on behalf of all similarly situated public shareholders of

  Linkwell Corporation (“Linkwell” or the “Company”), asserts claims for federal securities

  violations and state law breaches of fiduciary duty, aiding and abetting breaches of fiduciary

  duty and civil conspiracy against defendants Xuelian Bian (“Xuelian”), Wei Guan (“Wei”),

  Sidley Austin LLP (“Sidley”), Shanghai Yinling Asset Management Co., Ltd. (“Yinling”),
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  Leading First Capital Limited (“Leading First” or “Parent”) and Leading World Corporation

  (“Leading World” or “Merger Sub) (Yinling, Leading First and Leading World are collectively

  referred to as “Yinling”), for their misconduct in connection with the design, implementation and

  consummation of a covert go-private merger transaction (the “Acquisition”).

          2.      The Acquisition was undertaken on behalf of and for the benefit of Xuelian and

  Wei to: (a) extinguish the valuable claims asserted against them in a previously filed derivative

  action (Siegmund v. Bian, et al., No. 12-cv-62539 (S.D. Fla.) (the “Derivative Action”); and (b)

  directly acquire for Xuelian, Wei and their affiliates total control of the Company’s disinfectant

  business in China.

          3.      The Acquisition was consummated without providing statutory notice to Plaintiff

  (and other similarly situated shareholders) of the go-private merger transaction, giving the

  shareholders the opportunity to vote thereon or his right to an appraisal of his shares of Linkwell

  stock under Florida law, and resulted in the unilateral sale of Plaintiff’s shares of Linkwell stock

  at an unfair price.

          4.      In the Derivative Action, Plaintiff asserted claims on behalf of nominal defendant

  Linkwell and against the members of the Company’s Board of Directors (the “Board”) and

  certain other related and/or affiliated third parties for their misconduct and self-dealing in

  connection with a prior unfair, wrongfully accomplished reverse merger transaction (the

  “Transaction”).

          5.      The Derivative Action sought to recover damages and other relief for claims for

  state law breaches of fiduciary duty, aiding and abetting breaches of fiduciary duty, constructive

  fraud, civil conspiracy, unjust enrichment, imposition of a constructive trust and statutory

  attorneys’ fees and expenses against Xuelian, Wei, Song Qiang Chen (“Song”), Ling Li



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  (“Ling”), Metamining, Inc. (“Metamining”), Metamining Nevada, Inc. (“Metamining Nevada”),

  CD International Enterprises, Inc. (“CD Int’l”), China Direct Investments, Inc. (“China Direct”),

  Capital Resource Management Co., Ltd., f/k/a Capital One Resource Co., Ltd. (“Capital

  Resource”) and Ecolab Inc. (“Ecolab”).

         6.     The Transaction was designed to conceal its principals’ self-dealing with respect

  to the Company’s assets and operations, to the detriment and expense of Linkwell. Pursuant to

  the publicly disclosed terms of the Transaction, Linkwell issued 94% of its equity to Metamining

  and China Direct to acquire 100% of the equity of Metamining Nevada, a wholly owned

  subsidiary of Metamining with no assets, operations or employees. Linkwell’s public filings

  with the SEC, however, did not disclose that the Transaction also involved the spin-off of the

  Company’s disinfectant business. Discovery obtained in the Derivative Action revealed that as

  part of the agreement to transfer control of Linkwell to Song and Ling, Linkwell would spin off

  its 90% equity ownership interest in Linkwell Tech Group, Inc. (“Linkwell Tech”) (and Linkwell

  Tech’s 100% equity ownership interest in Shanghai Likang Disinfectant High-Tech Co., Ltd.

  (“Likang Disinfectant”) and Shanghai Likang Biological High-Tech Co., Ltd. (“Likang

  Biological”)) to Xuelian and Wei in exchange for the return or cancellation of their shares of

  Linkwell stock.   Linkwell, however, did not receive any consideration for the spin-off of

  Linkwell Tech, Likang Disinfectant and Likang Biological to Xuelian and Wei, or for the

  transfer of substantially all of its equity to Song, Ling, CD Int’l, China Direct and Capital

  Resource.

         7.     After Plaintiff uncovered that the Transaction was a sham and moved for partial

  summary judgment, the Transaction was unwound. The stock certificates for the shares of

  Linkwell stock issued to Song and Ling (and members of their respective families) were



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  subsequently returned to the Company. The shares of stock issued to China Direct and Capital

  Resource were also returned. Plaintiff, however, was unable to obtain any confirmation that the

  stock certificates representing the Company’s 90% equity ownership of Linkwell Tech and

  Linkwell Tech’s 100% equity ownership of Likang Disinfectant and Likang Biological were

  returned to Linkwell.

         8.     On January 16, 2014, the Court in the Derivative Action entered Orders

  compelling Linkwell, Song, Ling, Metamining, Metamining Nevada and CD Int’l, China Direct

  and Capital Resource to respond to Plaintiff’s discovery concerning, among other things, the

  location of the stock certificates for Linkwell Tech, Likang Disinfectant and Likang Biological,

  by January 31, 2014.

         9.     Xuelian and Wei, however, prevented Linkwell from obeying the January 16,

  2014 Omnibus Order (ECF No. 116) (“Omnibus Order”) and failed to take appropriate action

  within their power as members of the Board to cause the Company to comply with discovery.

  Xuelian and Wei retained legal counsel to assist them with, among other things, avoiding the

  obligation to comply with the Omnibus Order and the disclosure of facts establishing their

  misconduct and self-dealing.

         10.    On or about March 28, 2014, Sidley presented a proposal to Xuelian, Wei and

  Liyong Sui (“Liyong”) (a representative of the yet to be formed Yinling) to take Linkwell private

  in a one-step merger, and subsequent post-merger restructuring for an IPO outside of the U.S.

         11.    On April 4, 2014, Likang Disinfectant retained Sidley as legal counsel to provide

  advice and assistance in all aspects of the Acquisition.      The April 4, 2012 legal counsel

  engagement letter (“Likang Engagement Letter”) was signed by Xuelian for Likang Disinfectant

  and Joseph Chan, a partner in Sidley’s Singapore office. Pursuant to the Likang Engagement



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  Letter, Sidley agreed to assist in the preparation and filing of documents whereby Linkwell

  would “go dark” with the SEC, deregister its securities and cease filing financial statements or

  periodic reports. Sidley also agreed to assist Linkwell with any regulatory inquiry from the

  Financial Industry Regulatory Authority (“FINRA”).

         12.     By going dark, Xuelian and Wei sought to avoid future public disclosures

  regarding the Acquisition, as well as any regulatory scrutiny of the same.

         13.     Pursuant to the Likang Engagement Letter, Sidley additionally agreed to assist in:

  (a) the organization of an acquisition vehicle (Leading World); (b) the structuring and execution

  of a going private proposal and the necessary legal documentation to facilitate the same; and (c)

  liaising with the transfer, depository and paying agents.

         14.     On April 11, 2014, Linkwell filed a Certificate and Notice of Termination of

  Registration on Form 15 (“Notice of Termination”) with the SEC.

         15.     On April 15, 2014, counsel for Plaintiff sent an email to counsel for CD

  Defendants, whose client China Direct served as the registered agent for Linkwell, regarding the

  Company’s non-compliance with the Omnibus Order and the recent filing of the Notice of

  Termination. The email advised that Plaintiff intended to move for an Order of Contempt and

  requested a meet and confer on April 16, 2014 with a representative of Linkwell to discuss the

  Company’s immediate efforts to comply with discovery. That communication was forwarded to

  Linkwell on April 17, 2014.

         16.     On April 22, 2014, Likang Disinfectant, and Sidley executed a supplement to the

  Likang Engagement Letter (“Supplement”). Pursuant to the Supplement, Likang Disinfectant

  retained Sidley as legal counsel for Linkwell, Xuelian and Wei in connection with the Derivative

  Action (which asserted claims on behalf of Linkwell and against Xuelian and Wei). Like the



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  Likang Engagement Letter, the Supplement was signed by Xuelian for Likang Disinfectant and

  Sidley partner Joseph Chan.

         17.     Sidley undertook the retention despite clear conflicts of interest posed by the

  representation of Linkwell, the Nominal Defendant in the Derivative Action, and Xuelian and

  Wei, individuals alleged to have, among other things, caused substantial harm to Linkwell.

  Sidley obtained no waiver of conflicts from Linkwell and no consent from the Company’s public

  shareholders with respect to the representation of Xuelian and Wei.

         18.     On July 9, 2014, Yinling retained Sidley in connection with the Acquisition. The

  July 9, 2014 legal counsel engagement letter (“Yinling Engagement Letter”) was signed by

  Liyong for Yinling and Sidley partner Joseph Chan.

         19.     Likang and Yinling each subsequently executed waiver letters which: (a)

  acknowledged the disclosure by Sidley that its representation of both Likang and Yinling in

  connection with the Acquisition is an actual or potential conflict of interest; and (b) consented to

  Sidley’s representation.

         20.     On July 15, 2014, Xuelian and Wei were served with process in this action. Three

  days later, Xuelian and Wei purportedly resigned their positions as directors and officers of

  Linkwell. Xuelian and Wei did not disclose their resignations until November 2014, after they

  were confronted with a motion for an Order of Contempt relating to the Company’s failure to

  comply with the Omnibus Order.

         21.     On August 12, 2014, Linkwell entered an agreement and plan of merger (the

  “Merger Agreement”) with Leading First and its wholly owned subsidiary Leading World,

  pursuant to which Leading First would acquire all of the equity of Linkwell at $0.88 per share.




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         22.     Sidley served as the sole counsel for the acquirer and target in the Acquisition,

  attended all meetings involving the Board and Yinling, and participated in all discussions of the

  material terms to the Merger Agreement, including the $0.88 per share merger consideration.

  Sidley formed and incorporated Leading First and Leading World for purposes of entering into

  and consummating the Acquisition. Sidley was responsible for the preparation and drafting of

  all transaction documents relevant to the Acquisition, including the Merger Agreement which

  contained provisions to ensure that any costs or expenses incurred in connection with this action

  by, among others, Xuelian and Wei, as well as any costs or expenses incurred in connection with

  the Acquisition, would be borne by Linkwell. Sidley also drafted the proxy statement (“Proxy

  Statement”) and was responsible for ensuring that the mailing of the Proxy Statement and related

  materials to the Company’s shareholders was timely and complied with Florida law.

         23.     Sidley additionally served as counsel for Xuelian and Wei in connection with the

  Derivative Action, yet failed to disclose any information about the Acquisition or the September

  19, 2014 special meeting of Linkwell shareholders in Shanghai, China (“Special Meeting”) to

  approve the same to the Court or Plaintiff.

         24.     Xuelian, Wei and Sidley determined not to provide Plaintiff (or any other U.S.

  public shareholders of Linkwell that held their stock in street name) with notice of the

  Acquisition, Special Meeting or their appraisal rights, in violation of Sections 607.0705 and

  607.1103 of the Florida Statutes, in order to prevent Plaintiff (and other similarly situated

  shareholders of Linkwell) from moving to enjoin the Acquisition or exercising appraisal rights.

         25.     After the Merger Agreement was approved at the Special Meeting, Sidley caused

  amended and restated articles of incorporation (“Amended Articles of Incorporation”) to be filed

  on behalf of Linkwell with the Florida Department of State. Pursuant to the Amended Articles



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  of Incorporation, Linkwell, for the first time, agreed to authorize the indemnification of its

  current and former officers and directors to the fullest extent provided by applicable law and

  including the advancement of legal expenses for all matters pending, existing or occurring at or

  prior to the approval of the Merger Agreement.

         26.    Sidley also caused articles of merger for Linkwell (“Articles of Merger”), which

  attached a plan of merger (“Plan of Merger”) and amended Bylaws, to be filed with the Florida

  Department of State, which set forth, among other things, that the Acquisition became effective

  on September 19, 2014, after the Plan of Merger and Merger Agreement were adopted by the

  Linkwell shareholders at the Special Meeting.

         27.    Upon information and belief, neither the Amended Articles of Incorporation nor

  the Articles of Merger were publicly available until October 26, 2014.

         28.    As a result of the failure by Xuelian, Wei and Sidley to comply with Florida’s

  statutory notice requirements, Plaintiff did not discover the Acquisition until after its

  consummation. The failure to provide Plaintiff with statutory notice unlawfully and unfairly

  deprived Plaintiff of the opportunity to: (a) evaluate whether the $0.88 per share merger

  consideration was fair; (b) vote to approve the Merger Agreement; (c) exercise appraisal rights;

  or (d) move to enjoin the Acquisition. Plaintiff would have moved to enjoin the Acquisition in

  this action if the legally required notice had been provided. The failure to provide such notice

  rendered the approval of the Merger Agreement and consummation of the Acquisition a fait

  accompli.

         29.    Documents produced in discovery after the Acquisition was consummated

  demonstrate that the Company’s disclosures concerning the Acquisition are manifestly

  incomplete insofar as they omit material information. For example, the Proxy Statement (which



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  Plaintiff obtained through discovery in the Derivative Action) contains no current financial

  statements, either audited or unaudited, for Linkwell, or even a fairness opinion from a financial

  advisor to allow Linkwell shareholders to evaluate the $0.88 per share merger consideration.

  The Proxy Statement did not disclose the pendency of the Derivative Action, the nature of the

  claims asserted against Xuelian and Wei, amongst others, for self-dealing and other breaches of

  fiduciary duty in connection with the Transaction; nor does it contain a valuation of those claims

  to the Company.

         30.     The Merger Agreement appended to the Proxy Statement is also incomplete. It is

  not executed by the parties. It lacks the requisite schedules, including the Company Disclosure

  Schedules referenced therein which are described to contain “a correct and complete list of all of

  the Company’s subsidiaries, ownership interest of the Company in each Company Subsidiary,

  and the ownership interest of each Person or Persons in each Company Subsidiary.”

         31.     As a result of Defendants’ misconduct, Plaintiff and the other public shareholders

  of Linkwell suffered substantial damages as they did not receive fair value for their Linkwell

  stock in connection with the Acquisition.

         32.     In 2008, Ecolab paid $2 million to acquire 10% of the equity of Linkwell Tech

  from Linkwell. In 2013, Ecolab purportedly sold the 10% equity interest to Linkwell Tech (and

  not Linkwell) for $2.4 million.

         33.     In connection with the Acquisition, Yinling purportedly paid only $483,120.00

  ($0.88 x 549,000 outstanding shares of Linkwell stock) to obtain 100% of the equity of Linkwell.

  Excluding the shares of Linkwell stock owned by Xuelian, Wei and parties that they control or

  with whom they are affiliated, the cost to squeeze out the public shareholders of Linkwell was a

  mere $176,960.66 ($0.88 x 201,092 outstanding shares of Linkwell stock).



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         34.      Corporate filings with the Shanghai Administration of Industry and Commerce

  (“SAIC”) indicate that Likang Disinfectant had: RMB 254,020,000 million (U.S. $40,926,924)

  (based on December 31, 2014 conversion rate of 0.1611169372) in total assets and RMB

  28,920,000 (U.S. $4,659,502) in total liabilities for year-end 2014; RMB 189,710,000 (U.S.

  $31,336,466) (based on December 31, 2013 conversion rate of 0.1651808859) in total assets and

  RMB 22,177,000 (U.S. $3,663,217) in total liabilities for year-end 2013; and RMB 170,684,480

  (U.S. $27,391,515) (based on December 31, 2012 conversion rate of 0.1604804074) in total

  assets and RMB 23,062,248 (U.S. $3,701,039) in total liabilities for year-end 2012.

         35.      Likang Disinfectant recorded net profits of RMB 15,613,894 (U.S. $2,505,724),

  20,180,000 (U.S. $3,333,350) and 6,050,000 (U.S. $974,757) for the years 2012, 2013 and 2014,

  respectively.

         36.      The merger consideration paid to Linkwell’s public shareholders of $0.88 per

  share is less than 1% of the net asset value of Linkwell subsidiary Likang Disinfectant that was

  reported to SAIC for 2014.

         37.      The 2012, 2013 and 2014 financial information for Likang Disinfectant furnished

  to SAIC was not provided to the public shareholders of Linkwell in the Proxy Statement.

         38.      Despite having been purportedly cashed out of Linkwell as a result of the

  consummation of the Acquisition, Xuelian is presently the controlling shareholder of Likang

  Disinfectant which, according to the Company’s SEC filings, was responsible for 99% of the

  revenues and earnings of Linkwell from its disinfectant business in China. Pursuant to corporate

  filings with SAIC, Xuelian is the majority shareholder of Shanghai Zhongyou Pharmaceutical

  High-Tech Co., Ltd. (“Zhongyou Pharmaceutical”), and owns in excess of 51% of that company.

  Yinling is now one of Zhongyou Pharmaceutical’s minority shareholders. As of December 9,



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  2014, Zhongyou Pharmaceutical owned over 83% of the equity of Likang Disinfectant. The

  remainder of the equity of Likang Disinfectant is owned by Linkwell Tech.

  II.     JURISDICTION AND VENUE

          39.     The Court has subject matter jurisdiction over the claims asserted herein pursuant

  to Section 27 of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78aa,

  and 28 U.S.C. §§ 1331 and 1337(a), as those claims arise under Section 10(b) of the Exchange

  Act, 15 U.S.C. §78j, and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5.

  The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a) over all other claims

  that are so related to the claims in the action within such original jurisdiction that they form part

  of the same case or controversy under Article III of the U.S. Constitution.

          40.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

  U.S.C. § 78aa, and 28 U.S.C. 1391(b) because many of the acts and omissions charged herein

  occurred in this District.

  III.    THE PARTIES

          A.      Plaintiff

          41.     Plaintiff was a Linkwell stockholder throughout the time the misconduct

  complained of herein occurred. On November 6, 2014, Plaintiff’s shares of Linkwell stock were

  unilaterally cancelled from his brokerage account in connection with the Acquisition. Neither

  Plaintiff, nor his broker, were provided with any information concerning the Acquisition and

  were not furnished with a copy of the Merger Agreement, Proxy Statement or notice of the

  Special Meeting. Plaintiff was not notified of his statutory appraisal or other rights in connection

  with the Acquisition. Plaintiff is a citizen of the State of New York.




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          B.    Defendants

          42.   Defendant Xuelian, at all relevant times, was a controlling shareholder of

  Linkwell. Xuelian has served as the Board Chairman, Chief Executive Officer and President of

  Linkwell since May 2005. Xuelian has simultaneously served as Chief Executive Officer,

  President and a director of Linkwell Tech since its inception in June 2004, and as General

  Manager of Likang Disinfectant since 1993. Xuelian is the Executive Director and controlling

  shareholder of Zhongyou Pharmaceutical. Xuelian is also a co-owner of Linkwell Int’l and owns

  30% of the equity of Zhongyou (Shanghai) Technology Development Co. Ltd. (“Zhongyou

  Technology”). Upon information and belief, Xuelian is a citizen of China.

          43.   Defendant Wei, at all relevant times, was a controlling shareholder of Linkwell.

  Wei has served as a member of the Board and Vice President of the Company since May 2005.

  Wei has also served as the Vice President of Linkwell Tech since its inception in June 2004, and

  as Vice General Manager of Likang Disinfectant since 2002. Wei is a co-owner of Linkwell

  Int’l with Xuelian. Wei owns 35% of the equity of Zhongyou Technology and serves as a

  supervisor for that company. Upon information and belief, Wei is a citizen of China.

          44.   Defendant Sidley is an international law firm with its headquarters in Chicago,

  Illinois.

          45.   Defendant Yinling is a Chinese limited liability company with a principal

  business in Shanghai, China. Yinling was formed on April 18, 2014. Yinling is the sole

  shareholder of Leading First.       Yinling is also a minority shareholder of Zhongyou

  Pharmaceutical.

          46.   Defendant Leading First is a British Virgin Islands company with a business

  address in Shanghai, China. Sidley formed Leading First on or about June 25, 2014 for the

  purpose of entering into and consummating transactions contemplated by the Merger Agreement.
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         47.     Defendant Leading World is a Florida corporation with a business address in

  Shanghai, China, and a wholly owned subsidiary of Leading First. Sidley formed Leading

  World on or about August 5, 2014 for the purpose of entering into and consummating

  transactions contemplated by the Merger Agreement.

  IV.    RELEVANT NON-PARTIES

         48.     Relevant Non-Party Linkwell is a Florida corporation with a principal place of

  business in Shanghai, China. Prior to the commencement of the Derivative Action, Linkwell

  operated as public holding company for its direct operating subsidiaries Linkwell Tech, Likang

  Disinfectant, Likang Biological and other affiliated entities. Linkwell shares the same registered

  business address and office space as Likang Disinfectant.

         49.     Relevant Non-Party Liyong is a Vice President of Yinling and the sole director of

  Leading First and Leading World. Liyong is a chartered accountant in China.

         50.     Relevant Non-Party Song served as a member of the Board from March 30, 2012

  to mid-2014. Song also served as the Chairman of Metamining and Metamining Nevada since

  co-founding those companies in 2008 and 2011, respectively.

         51.     Relevant Non-Party Ling served as a member of the Board from March 30, 2012

  to mid-2014. Ling, also a co-founder of Metamining and Metamining Nevada, served as the

  President and a director of those companies since 2008 and 2011, respectively.

         52.     Relevant Non-Party Metamining is a California corporation with a principal place

  of business in Foster City, California. Metamining is a privately held mining development

  company that manages mines in the United States and develops a portfolio of mineral assets,

  including metallurgical coal, iron ore, copper and manganese ore.

         53.     Relevant Non-Party Metamining Nevada is a Nevada corporation. Prior to the

  Transaction, Metamining Nevada was a wholly owned subsidiary of Metamining. Metamining
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  Nevada was formed by Metamining on March 30, 2011 in connection with the entry of certain

  purchase and sale agreements in connection with the Nevada Properties (defined below).

         54.     Relevant Non-Party CD Int’l is a Florida corporation with its principal place of

  business in Deerfield Beach, Florida. CD Int’l produces and distributes industrial commodities

  in China and the Americas.

         55.     Relevant Non-Party China Direct is a Florida corporation and a wholly owned

  subsidiary of CD Int’l. China Direct provides specialized business consulting services primarily

  to Chinese companies seeking access to the U.S. capital markets. China Direct shares an

  interlocking management structure with CD Int’l. It also shares the same office space with CD

  Int’l in Deerfield Beach, Florida.

         56.     Relevant Non-Party Capital Resource is a Brunei company with a principal place

  of business in China, and a wholly owned subsidiary of CD Int’l. Capital Resource provides

  specialized business consulting services primarily to Chinese companies seeking access to the

  U.S. capital markets.

         57.     Relevant Non-Party James Wang (“Wang”) is the Chairman and Chief Executive

  Officer of CD Int’l and China Direct. Wang has served as Chairman and Chief Executive

  Officer of CD Int’l since August 2006. He co-founded China Direct and has served as its

  Chairman and Chief Executive Officer since January 2005. In his capacity as Chief Executive

  Officer of CD Int’l, Wang exercised voting and dispositive control over the shares of Linkwell

  stock held by China Direct and Capital Resource.

         58.     Relevant Non-Party Ecolab is a Delaware corporation with headquarters located

  in St. Paul, Minnesota. Ecolab develops and markets products and services for the hospitality,

  foodservice, healthcare and industrial markets.



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  V.     DUTIES OF DIRECTOR DEFENDANTS

         59.     As directors of Linkwell, Xuelian and Wei each owed the Company and its

  shareholders the fiduciary duties loyalty, good faith, due care and disclosure. The misconduct

  complained of herein involves culpable violations by the Company’s directors of their fiduciary

  obligations.

         60.     By reason of their positions as directors and fiduciaries of Linkwell, and because

  of their ability to control the business and corporate affairs of the Company and its subsidiaries,

  Xuelian and Wei each owed Linkwell and its public shareholders fiduciary duties and were

  required to use their ability to control and manage Linkwell in a fair, just, honorable and

  equitable manner, to act in furtherance of the best interests of the Company and its shareholders

  so as to benefit all shareholders equally, and not in furtherance of their own personal interests or

  benefits. Furthermore, as officers, directors and fiduciaries of a publicly held company, Xuelian

  and Wei each had a duty to refrain from utilizing their control over Linkwell to secretly divert

  assets to themselves or their designee(s).

         61.     Each director of Linkwell named herein owed the Company and its public

  shareholders the fiduciary obligation to act in good faith, with due care, loyalty and diligence in

  the management and administration of the Company’s affairs, as well as in the use and

  preservation of its property and assets, and the highest obligations of fair dealing.

         62.     By reason of their positions at Linkwell, Xuelian and Wei each had the power and

  authority to control the contents of the Company’s public statements to the financial

  marketplace, including the Company’s Form 10-Qs, press releases, proxy statements and

  information statements (collectively, “public filings”) discussed herein.

         63.     Because of their positions at Linkwell, Xuelian and Wei were each aware of the

  wrongful conduct complained of herein, had access to adverse non-public information and were
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  required to disclose such facts promptly and accurately to the Company’s shareholders and the

  financial markets.

         64.      Xuelian and Wei, because of their advisory, executive, managerial and directorial

  positions with Linkwell, each had access to adverse, non-public information about the financial

  condition and operations of Linkwell, access to internal corporate documents, reports and other

  information, including adverse, non-public information about the business, financial condition

  and future prospects, and attended management and/or board of director meetings. Xuelian and

  Wei were each responsible for the truthfulness and accuracy of the Company’s public filings.

         65.      Xuelian and Wei directly participated in the management, administration and/or

  oversight of Linkwell and were privy to confidential, proprietary information about its business

  operations and accounting practices.

         66.      To discharge their duties, Xuelian and Wei were each required to exercise

  reasonable and prudent supervision over the management, policies, practices and controls of the

  business and financial affairs of the Company. By virtue of such duties, Xuelian and Wei were

  obligated to, among other things:

                  a.     Manage, conduct, supervise and direct the business affairs of Linkwell in

  accordance with all applicable laws (including federal and state laws, government rules and

  regulations);

                  b.     Neither engage in self-dealing, nor knowingly permit any officer, director

  or employee of Linkwell to engage in self-dealing;

                  c.     Neither violate, nor knowingly permit any officer director or employee of

  Linkwell to violate, applicable laws, rules and regulations;




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                 d.      Prudently protect the Company’s assets, and to ensure that the Company is

  paid an appropriate price for the disposition of its material assets and/or operations;

                 e.      Exercise control and supervision over the public statements to the

  securities markets trading in Linkwell stock by the officers and employees of the Company; and

                 f.      Supervise the preparation and filing of all financial reports or other

  information required by law from Linkwell, examine and evaluate any reports of examinations,

  audits or other financial information concerning the financial affairs of the Company and make

  full and accurate disclosure of all material facts concerning each of the subjects and duties set

  forth above.

         67.     In connection with the Acquisition, Xuelian and Wei each stood in a fiduciary

  relationship with Linkwell, Plaintiff and the Company’s other public shareholders and owed

  them the highest fiduciary obligations of loyalty, good faith, fair dealing, due care and full and

  candid disclosure.

         68.     To diligently comply with their fiduciary obligations, Xuelian and Wei were duty

  bound not take any action that:

                 a.      Adversely affects the value provided to Linkwell or its stockholders;

                 b.      Favor themselves;

                 c.      Adversely affects their duty to search for and secure the best value

  available under the circumstances for Linkwell and its stockholders; and/or

                 d.      Provide them with preferential treatment at the expense of Linkwell or its

  public shareholders.

         69.     Xuelian and Wei, separately and together, knowingly or recklessly violated their

  fiduciary duties as directors, officers and controlling shareholders of Linkwell, including their



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  duties of loyalty, good faith, due care and disclosure owed to Linkwell, Plaintiff and the other

  shareholders of Linkwell. Xuelian and Wei undertook and approved the Acquisition as a means

  to terminate the Derivative Action, avoid significant personal liability for their misconduct and,

  thus, deprive the Company of compensation for the damage they caused. Xuelian and Wei stood

  on both sides of the Acquisition, engaged in self-dealing and obtained for themselves financial

  benefits not equally shared by Plaintiff and the public shareholders of Linkwell. Xuelian, Wei

  and their legal counsel Sidley did not provide statutory notice of the Acquisition and shareholder

  appraisal rights to all of the Company’s shareholders, in violation of Sections 607.0705 and

  607.1103 of the Florida Statutes, so as to prevent Plaintiff from moving in the Derivative Action

  to enjoin the Acquisition or exercise appraisal rights.

         70.     Other reasons exist that challenge the fairness and propriety of the Acquisition.

  For example, Sidley, counsel for Linkwell, Xuelian and Wei in connection with the Derivative

  Action, also served as counsel for Likang and Yinling in the Acquisition. The Proxy Statement

  does not disclose this conflict of interest. After the Acquisition was consummated, Xuelian

  continued to control Linkwell through his position of management at and as controlling

  shareholder of Likang Disinfectant. The Proxy Statement does not disclose whether Xuelian or

  Wei would have any post-merger management role or equity interest in Linkwell, Linkwell Tech

  or Likang Disinfectant.

         71.     As a result of the self-dealing and divided loyalties of Xuelian and Wei, Linkwell

  did not obtain value for its assets. Moreover, Plaintiff and the public shareholders of Linkwell

  Company (unaffiliated with Xuelian and Wei) did not receive fair value for their shares of

  Linkwell stock.




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         72.     Because Xuelian and Wei knowingly or recklessly breached their fiduciary duties

  of loyalty, good faith, due care and disclosure in connection with the Acquisition, the burden of

  proving entire fairness, including all aspects of its negotiation, structure, price, terms and

  provision of statutory notice, is placed upon them as a matter of law.

  VI.    ALLEGATIONS APPLICABLE TO ALL CLAIMS

         A.      Background

                 1.     Linkwell

         73.     At all relevant times, Linkwell, through its direct subsidiaries Linkwell Tech,

  Likang Disinfectant and Likang Biological, and certain other affiliated entities, engaged in the

  development, manufacture, sale and distribution of disinfectant health care products in China.

         74.     Likang Disinfectant’s products are sold on a wholesale and retail basis to the

  health care community in China. It has 66 marketed products, 46 of which are certified by one

  or more of the following Chinese government authorities: the Chinese Ministry of Health, the

  State Food and Drug Administration and the Ministry of Agriculture. The Ministry of Health,

  the authority which approves products that require the highest level of licensing, granted Likang

  Disinfectant 31 hygiene licenses.

         75.     Products manufactured by Likang Disinfectant accounted for more than 99% of

  the Company’s total net revenues for fiscal year ended December 31, 2011.

         76.     According to the Company’s Annual Return on Form 10-K for fiscal year ended

  December 31, 2011 (“2011 Form 10-K”), Linkwell, through Likang Disinfectant, has more than

  6,000 active and recurring customers in China, including hospitals, clinics, health centers,

  medical suppliers and distribution companies.




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         77.     Linkwell’s total net sales for fiscal year ended December 31, 2011 were almost

  $17 million, more than a 25% increase over its prior year’s performance. Gross profits were

  $7,428,520 and net income was approximately $1.88 million, a 101.2% increase over 2010.

         78.     As of December 31, 2011, the Company had cash and cash equivalents of

  $2,919,670, accounts receivable of $12,651,347, total assets of $27,446,588, total liabilities of

  $10,012,087, total stockholders’ equity of $17,434,501, and working capital of $1,997,311 with

  no material commitments for capital expenditures.

                         a)      Legal Counsel Agreement

         79.     Linkwell’s strong financial performance and future prospects, however, were not

  reflected in its share price. In the 2011 Form 10-K, Linkwell acknowledged that its common

  stock did not have an established trading market in the U.S. and, as such, was traded on the

  OTCBB and the Pink Sheets. Trading on these platforms made it more difficult for Linkwell to

  raise additional capital in the U.S. public markets.

         80.     Sometime in 2011, after discussions with the Company business consultant Wang,

  Xuelian and Wei determined to spin-off of Linkwell Tech, Likang Disinfectant and Likang

  Biological from Linkwell.

         81.     On January 1, 2012, Linkwell, Linkwell Tech and Likang Disinfectant executed a

  legal counsel agreement (“Legal Counsel Agreement”) with Shanghai Haimai Legal Firm

  (“Haimai Legal”), pursuant to which Haimai Legal agreed to provide certain legal services to

  Linkwell, Linkwell Tech and Likang Disinfectant in exchange for 6 million shares of Linkwell

  common stock.

         82.     As set forth in the Legal Counsel Agreement, Linkwell, Linkwell Tech and

  Likang Disinfectant engaged Haimai Legal as counsel in anticipation of certain planned

  transactions with third parties for the sale of equity in Linkwell, Linkwell Tech and Likang
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  Disinfectant. The Legal Counsel Agreement sets forth, among other things, that “Party A

  [(Linkwell, Linkwell Tech and Likang Disinfectant)] planned to conduct private equity financing

  and carry out merger & acquisition (we called ‘capital operation’ as follows); meanwhile Ecolab,

  Inc. and another American company planned to acquire shares of Party A (we called

  ‘acquisitions of equity’).”

                 2.      Ecolab

         83.     On February 15, 2008, Linkwell, Linkwell Tech and Ecolab entered into a stock

  purchase agreement (“Stock Purchase Agreement”) whereby Ecolab agreed to purchase 10% of

  the issued and outstanding shares of Linkwell Tech (888,889 shares) from Linkwell for $2

  million.

         84.     On May 30, 2008, Linkwell, Linkwell Tech and Ecolab entered into a

  stockholders agreement (“Stockholders Agreement”) whereby Linkwell and Ecolab agreed to be

  subject to certain pre-emptive rights, transfer restrictions and take along rights related to the

  shares of Linkwell Tech each entity held.

         85.     The Stockholders Agreement provided Ecolab with a call right exercisable upon

  the entry of any change of control transaction by Linkwell. The call right required the Company

  to sell Ecolab all of its equity interest in Linkwell Tech, and any of the affiliates owned by

  Linkwell, without a control premium.

         86.     The Stockholders Agreement also provided Ecolab with an option to require

  Linkwell to buy back the 10% equity interest that Ecolab acquired for $2.4 million (“Put

  Option”). Pursuant to its the terms, the right to exercise the Put Option would terminate in the

  event that Ecolab acquired all of the outstanding equity of Linkwell Tech. The Stockholders

  Agreement further provided that it could be terminated by written agreement of the parties.



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         87.     The Stock Purchase Agreement and Stockholders Agreement provided no terms

  for Ecolab to acquire any additional equity of Linkwell Tech. Thus, the acquisition by Ecolab of

  Linkwell Tech equity in excess of the 10% equity interest Ecolab already owned would have to

  be governed by a separate agreement.

         88.     Ecolab did not identify Linkwell Tech as a subsidiary company in its Annual

  Return on Form 10-K filings with the SEC for fiscal years ended December 31, 2008, December

  31, 2009, December 31, 2010 and December 31, 2011.             Ecolab only included significant

  majority-owned subsidiaries in its consolidated financial statements. During 2008 through 2011,

  the exhibit attached to Ecolab’s Form 10-K filings identifying its subsidiary companies also

  listed the percentage of ownership.

         89.     In late 2011 and early to mid-2012, Ecolab, Linkwell and others were engaged in

  negotiations regarding the acquisition by Ecolab of a controlling equity interest in Linkwell

  Tech, Likang Disinfectant and Likang Biological.

         90.     During the negotiations, Xuelian, Wei and/or the Company’s counsel at Haimai

  Legal disclosed the material terms of the Transaction to Ecolab, including the spin-off of

  Linkwell Tech from Linkwell.

                 3.     Metamining and Metamining Nevada

                        a)      The Purchase and Sale Agreements

         91.     On April 15, 2011, Metamining entered into purchase and sale agreements (the

  “Purchase and Sale Agreements”) with Little Valley Group, LLC, Greater Nevada Ranches, LLC

  and Western Resources Group, LLC (the “Sellers”) to acquire rights to mining claims on

  approximately 4,500 acres in northern Nevada (the “Nevada Properties”) during a two-year

  period, for an aggregate purchase price of $14.25 million (the “Purchase Price”).



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         92.     The Nevada Properties are also referred to in the Company’s SEC filings as the

  “Iron Horse Project in Nevada,” the “Iron Horse Project – Dodge Mine” and the “Iron Horse

  Project.”

         93.     Under the Purchase and Sale Agreements, the Purchase Price was payable in 3

  installments payments. The first installment payment included an initial down payment in the

  approximate amount of $3,000,003 payable in 3 partial payments.

         94.     The Sellers acknowledged in the Purchase and Sale Agreements that they

  received a “review” payment in the amount of $234,567.53 on December 28, 2010. A pre-

  payment in the amount of $500,000 was to be made to the Sellers within 10 days after execution

  of the Purchase and Sale Agreements, and the balance of the down payment ($2,265,435.60) was

  due 45 days after the pre-payment. The second installment payment in the amount of $5.625

  million was due on April 15, 2012. The third installment in the amount of $5.625 million was

  due on April 23, 2013.

         95.     Pursuant to the Purchase and Sale Agreements, the Sellers financed the payment

  of the Purchase Price by Metamining by carrying two of the $5.625 million notes payable on

  April 15, 2012 and April 15, 2013 (in the aggregate $11.25 million), free of interest.

         96.     By March 2012, however, Metamining had not even completed payment on the

  first installment of the Purchase Price.

                         b)      The Letters of Authorization

         97.     On March 5 and 6, 2012, Metamining and Metamining Nevada executed letters of

  authorization (“Letters of Authorization”) with China Direct and Capital Resource. Both Letters

  of Authorization were executed by Song on behalf of Metamining and Metamining Nevada, and

  by Wang on behalf of both China Direct and Capital Resource.



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         98.     Pursuant to the Letter of Authorization, Metamining and Metamining Nevada

  authorized China Direct and Capital Resource to act on its behalf in connection with accessing

  the U.S. capital markets in order to provide financing, among other things, to fund the Purchase

  Price and development of the Nevada Properties.

                        c)     The Reverse Merger Consulting Agreement

         99.     On March 6, 2012, Metamining Nevada executed a reverse merger consulting

  agreement (“Reverse Merger Consulting Agreement”) with China Direct and Capital Resource.

  The Reverse Merger Consulting Agreement was executed by Song on behalf of Metamining

  Nevada, and by Wang on behalf of both China Direct and Capital Resource.

         100.    Pursuant to the Reverse Merger Consulting Agreement, Metamining Nevada

  engaged China Direct and Capital Resource to help it raise capital and list on a U.S. stock

  market. It sets forth that, through a reverse merger transaction, Metamining Nevada will become

  a wholly owned subsidiary of a U.S. public company and the shareholders of Metamining

  Nevada – Song and Ling – will become the controlling shareholders of the public company.

         101.    The Reverse Merger Consulting Agreement describes the process by which

  Metamining Nevada will become a wholly owned subsidiary of a U.S. public company and raise

  capital as follows:

                 a.     China Direct and Capital Resource shall provide a clean shell company for

  Metamining Nevada to merge into.

                 b.     The shell company shall not have any debts or liabilities.

                 c.     The total number of outstanding shares of the shell company shall be 10

  million.




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                 d.     After listing on the OTCBB, Metamining Nevada will raise $15 million

  through a private placement and simultaneously issue 3 million shares of common stock to PIPE

  investors, which will increase the outstanding common stock to 13 million shares.

                 e.     China Direct and Capital Resource will be paid a fee (referred to in a prior

  draft of the Reverse Merger Consulting Agreement obtained in discovery as a commission) of

  8% of the amount raised through the private placement for providing consulting services to

  Metamining Nevada.

                 f.     China Direct and Capital Resource will advance the legal expenses

  incurred on behalf of Metamining Nevada in connection with the listing on the OTCBB and the

  raising of capital, and the amounts advanced will be deducted from the sum raised through the

  private placement.

         102.    The Reverse Merger Consulting Agreement sets forth that, after completion of the

  reverse merger transaction, the shareholders of Metamining Nevada will own 9 million shares

  and 90% of all equity and assets of the shell company, and China Direct and the “retailing [sic]

  shareholders of [the] shell company” owning 1 million shares. In order for this to occur,

  Linkwell “shall issue 9,581,973 shares of preferred stock at the reverse merger. Among, which,

  9 million shares shall be issued to shareholders of Metamining [Nevada], and the other 581,973

  shares shall be issued to [China Direct and Capital Resource].”

         103.    The Reverse Merger Consulting Agreement provides that after it takes effect, “all

  of the verified assets and business of [Metamining Nevada] shall be acquired by the public

  company.” The Reverse Merger Consulting Agreement took effect on March 6, 2012.

         104.    The Reverse Merger Consulting Agreement further sets forth that, after

  completion of the reverse merger transaction, China Direct and Capital Resource will provide



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  Metamining Nevada with “comprehensive consulting services for One year (April 1, 2012 to

  March 31, 2013), including preparation of 10Q/10K financial reports, periodic SEC filings, U.S.

  legal consultation, investor relations, website design and promotion, and press release.”

         105.    Finally, in a chart captioned “Current Outstanding Shares,” the Reverse Merger

  Consulting Agreement specifically sets forth that Xuelian and Wei would cancel their 36 million

  shares of Linkwell stock to reduce the total number of outstanding shares of Linkwell stock from

  119,605,475 to 83,605,475.

         106.    After a reverse stock split at 200:1 ratio, Song and Ling would control 90% of the

  equity of the “new” public company, and Wang (on behalf of CD Defendants) would control

  5.82% of the equity.

                 4.      CD Int’l, China Direct and Capital Resource

         107.    At all relevant times, Wang, CD Int’l, China Direct and Capital Resource served

  as consultants in connection with the Transaction and the sale or spin-off of Linkwell Tech.

         108.    At or about the same time that China Direct and Capital Resource executed the

  Letters Authorization and Reverse Merger Consulting Agreement with Metamining and

  Metamining Nevada, they also executed a service agreement (“Service Agreement”) and a

  consultant service agreement (“Consultant Service Agreement”) with Linkwell, as well as

  reviewed an agreement prepared by Ecolab which provided for the elimination of the Put Option

  under the Stockholders Agreement (“Amendment to Stockholders Agreement”).

                         a)     The Service Agreement

         109.    On March 13, 2012 Capital Resource executed the Service Agreement with

  Linkwell.     The Service Agreement was signed by Xiaowen Zhuang (Wang’s brother)

  (“Xiaowen”) on behalf of Capital Resource, and Xuelian on behalf of Linkwell. Pursuant to the

  Service Agreement, Capital Resource agreed, in exchange for 5 million shares of Linkwell

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  common restricted stock, to provide certain services for Linkwell, including, but not limited to,

  maintaining the Company’s U.S. representative offices, providing financial management and

  investor relation service, managing investor road show and investment conferences, coordinating

  the preparation of and filing of all public disclosures with the SEC and providing written

  instruction for future merger and consolidation.

         110.    The Service Agreement also lists the Company’s “Work Items.” Among other

  things, the Work Items require Linkwell to provide Capital Resource with the “background

  information of three companies for intended acquisition.”       As described below, the three

  companies for intended acquisition referenced in the Service Agreement were Linkwell Tech,

  Likang Disinfectant and Likang Biological.

                        b)      The Amendment to Stockholders Agreement

         111.    On or about March 18, 2012, CD Int’l reviewed the Amendment to Stockholders

  Agreement on behalf of its client Linkwell. As set forth in the Amendment to Stockholders

  Agreement, Linkwell, Linkwell Tech and Ecolab desired to terminate Ecolab’s right to exercise

  the Put Option. Pursuant to its terms, the Amendment to Stockholders Agreement terminated

  Section 4.1 of the Stockholders Agreement.

         112.    Upon information and belief, the Amendment to Stockholders Agreement was

  sent to Linkwell, Linkwell Tech and Ecolab and subsequently executed by the parties.

         113.    The Put Option was cancelled by its holder (Ecolab) in March 2012.

                        c)      The Consultant Service Agreement

         114.    On March 31, 2012 Capital Resource executed the Consultant Service Agreement

  with Linkwell. The Consultant Service Agreement was signed by Xiaowen on behalf of Capital

  Resource, and Xuelian on behalf of Linkwell.



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         115.     Pursuant to the Consultant Service Agreement, Capital Resource agreed, in

  exchange for 5 million shares of Linkwell common stock, to strip Linkwell of its 90% equity

  interest in Linkwell Tech and provide related consulting services to Linkwell.

         116.     According to the Consultant Service Agreement, Capital Resource was to

  complete the divestiture of Linkwell Tech from Linkwell before June 30, 2012. Among other

  things, the Consultant Service Agreement acknowledged the terms of the Transaction between

  Linkwell and Metamining and that, as a result, the Board would be reorganized. As set forth in

  the document:

                  On March 30, 2012, [Capital Resource] shall complete Linkwell
                  Corporation’s reverse merger with the U.S. company Metamining
                  Nevada, Inc.

                  On April 1, 2012, [Linkwell]’s current board of directors shall be
                  reorganized.    New shareholders shall designate the board
                  chairperson, CEO, and chairperson’s secretary; and Linkwell Tech
                  Group, Inc. shall designate one director, with his/her term up till
                  [sic] June 30, 2012. During this period, the company name and
                  stock symbol of Linkwell Corporation shall be changed, while the
                  two parties work to separate the 90% equity of Linkwell Tech
                  Group, Inc. from Linkwell Corporation, namely, the 36 million
                  shares under the name of Linkwell International Capital Ltd. shall
                  be returned to Linkwell Corporation in exchange for the 90%
                  equity of Linkwell Tech Group, Inc.

         117.     The Consultant Service Agreement also sets forth additional rights and

  obligations of the parties. For example, Linkwell agreed that the Linkwell Tech designated

  director of the reorganized board “shall cooperate with Linkwell Corporation’s new board of

  directors in signing and issuing corresponding board of director documents.”

         118.     The Consultant Service Agreement further provided that Capital Resource is

  responsible for, among other things:

                  a.     All legal, business and financial auditing documents related to the

  Transaction and separation/divestiture of Linkwell Tech;

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                b.      Introducing Metamining Nevada, Inc. and the extra costs of completing

  the quarterly report Form 10-Qs, annual report Form 10-K, major event Form 8-K and other

  disclosures required by the SEC starting from the fiscal quarter of April 1, 2012 to June 30,

  2012; and

                c.      Press releases, investor relations, road shows, audit coordination, legal

  consultation, translation, company registration, tax returns, documents management and other

  regular corporate matters of the public company after the divestiture of Linkwell Tech from

  Linkwell.

         119.   Other materials contemporaneously prepared by CD Int’l and Metamining for

  potential investors in a reorganized Linkwell similarly describe the Transaction and the

  anticipated spin-off of Linkwell Tech from Linkwell as follows:

                Linkwell … is a U.S. company, who operates under a holding
                company structure and currently has one direct operating
                subsidiary, Linkwell Tech … of which we own 90%. On February
                15, 2008, Linkwell Tech sold 10% of its issued and outstanding
                capital stock to Ecolab Inc., a Delaware corporation …. Linkwell
                Tech owns 100% of … LiKang [sic] Disinfectant …. LiKang [sic]
                Disinfectant’s business is hospital disinfectant products which is
                our primary business. LiKang [sic] Disinfectant acquired 100% of
                LiKang [sic] Biological on March 5, 2009.

                The chart below shows the current structure of the company:




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                                               …

              In March 2012, the shareholders of Metamining Nevada, Inc.
              developed a plan to expand and obtain the benefits of a U.S. public
              company (the “Reorganization”).        A key element of the
              Reorganization was to enter into a transaction with a public shell
              company in the United States by which we, the public shell
              company would acquire operations based in the state of Nevada.

              To accomplish this plan, in [sic] March 6th 2012, Metamining
              Nevada … entered an agreement with China Direct … and Capital
              [Resource] … in which [China Direct] and Capital [Resource] are
              both engaged to coordinate the capital raise and list in the U.S.
              stock market for Metamining Nevada, Inc. through a reverse
              merger transaction. [China Direct] will provide Linkwell … as the
              clean shell company, after the reverse merger, Metamining Nevada
              … will become a wholly owned subsidiary of [Linkwell], while the
              founding shareholders of Metamining Nevada … will become the
              controlling shareholders of the reorganized public company.

              In addition, Linkwell … entered a consulting agreement with
              Capital [Resource], in which Capital [Resource] is engaged to spin
              off [Linkwell]’s 90% owned subsidiary, Linkwell Tech … by
              selling 90% equity interest in Linkwell Tech … in exchange for
              the return and cancelation of a total of 36 million shares of
              [Linkwell] common stock held by Linkwell International ….

              After the reorganization [sic], the structure of the Company will be
              as the following chart:

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                                  Linkwell Corporation




                                                   100%



                                Metamining Nevada, Inc.


         B.        The Transaction

         120.      On April 2, 2012, Linkwell announced in a press release filed in a Form 8-K with

  the SEC that the Company had entered into a definitive share exchange agreement (the “Share

  Exchange Agreement”) with the Metamining to acquire Metamining Nevada as a wholly owned

  subsidiary, in exchange for 9 million shares of newly issued Series C convertible preferred stock

  and 3 million warrants to purchase common stock.

         121.      The press release set forth that after the effective date there would be a reverse

  stock split of all of the outstanding shares of the Company’s common stock at a 200:1 ratio so

  that the Series C preferred is convertible into 9 million shares of common stock would give

  Metamining approximately 90% of the equity.

         122.      Comments attributed to Xuelian in connection with the acquisition of Metamining

  Nevada were as follows: “We are extremely pleased to have entered into this agreement to

  acquire Metamining Nevada and enter into a new era for our company. We are confident that

  this acquisition will become a tremendous long term growth opportunity for our company and we

  intend to work diligently to unlock the vast potential of these mining properties for our

  shareholders.”

         123.      The announcement was greeted by shock and surprise by Plaintiff, one of the

  Company’s public shareholders, for a number of reasons.

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         124.     First, Linkwell had not previously disclosed to its public shareholders that the

  Company was contemplating a business combination, let alone one with a start-up company in

  an entirely dissimilar line of business – the exploration, mining and trading of iron ore in the

  United States. There was no apparent business purpose to support the merging of the two

  companies.

         125.     Second, the determination by the Board (then comprised of Xuelian and Wei) to

  acquire Metamining Nevada was entirely inconsistent with the disclosures made by Linkwell to

  its shareholders less than a month before.       On March 9, 2012, Linkwell had informed

  shareholders in a Definitive Information Statement on Schedule 14C that it would effect a

  reverse stock split of its common stock at a 30:1 ratio. According to the Information Statement,

  on February 13, 2012, the Board adopted and approved the reverse stock split in an amendment

  (the “Charter Amendment”) to the Company’s Articles of Incorporation, having determined this

  action to be in the Company’s best interest because it believed that the common stock was

  undervalued and the reverse split would allow the common stock to trade in a “more realistic

  price range.”

         126.     Xuelian and Wei knew or should have known that the acquisition of Metamining

  Nevada in exchange for almost all of the equity of Linkwell would have a negative effect on the

  Company’s stock price. The Transaction did in fact have a negative impact on the Company’s

  stock price.

         127.     Third, Linkwell did not obtain a fairness opinion in connection with the

  Transaction, so that shareholders could evaluate whether the purported acquisition of 100% of

  the equity of Metamining Nevada constituted adequate consideration for substantially all of the

  Company’s equity.



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         128.    Fourth, the issuance of new equity in connection with the Transaction also

  affected Xuelian and Wei who, at the time, purported to beneficially own 39,023,470 shares of

  Linkwell common stock, or almost 40% of the Company’s equity. Under the terms of the

  Transaction, the number of shares of common stock Xuelian and Wei beneficially own would be

  reduced to less than 3% of the Company’s equity. It made no business sense that Xuelian and

  Wei, who collectively devoted more than 57 years to building Linkwell into a profitable

  business, would consent to such a substantial reduction in equity for essentially nothing in return.

         129.    The only plausible explanation was that Xuelian and Wei obtained something of

  value in exchange for their agreement to execute the Share Exchange Agreement and

  substantially reduce or cancel their equity interest in Linkwell that did not devolve to the

  Company. The benefit that Xuelian and Wei received, namely, the Company’s 90% equity

  interest in Linkwell Tech and, as consequence, Linkwell Tech’s 100% equity interest in Likang

  Disinfectant and Likang Biological, was not disclosed in any of the Company’s public filings.

                 1.      The Terms of the Transaction

         130.    On April 4, 2012, Linkwell announced in a Form 8-K filing with the SEC that it

  acquired Metamining Nevada from Metamining on March 30, 2012. According to the filing,

  Linkwell acquired Metamining Nevada to exploit certain mining and real property rights on the

  Nevada Properties.

         131.    Pursuant to the terms of the Share Exchange Agreement, Linkwell acquired 100%

  of the capital stock of Metamining Nevada in exchange for 9 million shares of the Company’s

  Series C convertible preferred stock and 3 million Series C common stock purchase warrants

  issued to Metamining.     Linkwell was also required, among other things, to: (a) appoint 2

  directors designated by Metamining; and (b) issue certificates representing 581,973 convertible

  preferred shares to China Direct.
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         132.    Metamining was limited to appointing only 2 new directors because CD Int’l

  recommended during pre-closing negotiations that an entirely new slate of members not be

  immediately appointed to the Board in order to avoid unwanted scrutiny of the Transaction by

  the SEC and other regulatory agencies.        CD Int’l explained that the appointment of 2

  Metamining directors to the Board was just the first stage of a phase-by-phase appointment

  process, and that by June 30 the Board would contain only Metamining appointees.

         133.    As set forth in March 27, 2012 email from individuals at CD Int’l to Metamining:

                 To save at least two-week[s] work related to the SEC disclosure
                 and potential comments on the transaction, our attorney suggests
                 that the current board remain [in] control for the following 15 days
                 after acquisition closing date (March 30). In this way, the public
                 company remains an operating company in the deal rather than a
                 shell company, which will avoid many potential questions related
                 to a typical reverse merger with a shell.

                 15 days later, one of the two current directors will resign so that
                 the board will be controlled by MetaMining [sic] since then.
                 MetaMining [sic] can appoint other directors on that day.

                 Another current director will remain on board until June 30, 2012
                 to ensure smooth transition of the board. That director will resign
                 on June 30, 2012. Thus, from June 30, the whole board of the
                 public company will all be from MetaMining [sic].

                 In all, we are not limiting the number of directors from
                 MetaMining [sic], but suggesting a phase-by-phase appointment
                 process to save potential questioning from SEC and other
                 regulatory agencies. (Emphasis added.)

         134.    On March 29, 2012, the Company filed Articles of Amendment to its Articles of

  Incorporation wherein the Board (composed of Xuelian and Wei), by unanimous written consent,

  adopted a resolution providing for the issuance of 9,581,973 shares of Series C convertible

  preferred stock.




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         135.    On March 30, 2012, Song and Ling were appointed to the Board. On the same

  date, Linkwell issued 581,973 shares of Series C convertible preferred stock to China Direct for

  services rendered on behalf of Metamining in connection with the Transaction.

                 2.     The Grossly Inadequate Consideration for the Transaction

         136.    On May 11, 2012, Linkwell filed an amendment to its April 4, 2012 Form 8-K

  filing. The amended filing provided the following financial statements and other information: (a)

  the audited financial statements of Metamining Nevada as of December 31, 2011 (the “Audited

  Financial Statements”); and (b) pro forma financial information for Linkwell for the fiscal year

  ended December 31, 2011.

         137.    The Audited Financial Statements of Linkwell reflect an absence of assets on the

  balance sheet of Metamining Nevada and no revenues on the statement of income.

         138.    Note 1 in the Audited Financial Statements nevertheless described Metamining

  Nevada as an active business operation, which currently owns mining rights on the Nevada

  Properties, and that the Nevada Properties hold promising future prospects.

         139.    Metamining Nevada, however, did not purchase any real property or mining

  rights on the Nevada Properties. It was not even a signatory to any of the Purchase and Sale

  Agreements.    Before the Purchase and Sale Agreements were executed, Metamining was

  required to form a Nevada incorporated operating company (Metamining Nevada) to receive title

  of the mineral and mining rights so as to secure the Sellers control over the transfer of the

  Nevada Properties until the full payment of the Purchase Price.

         140.    Moreover, after this action was commenced, Song admitted in a declaration dated

  July 20, 2013, and filed with the United States District Court, Northern District of California, in

  Zhenhua Logistics (Hong Kong) Co., Ltd. v. Metamining, Inc., et al., No. 13-cv-2658 (N.D. Cal.)



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  (“Zhenhua Action”), that “Metamining holds a 100% ownership interest in the Iron Horse

  Project ….”

         141.    On May 15, 2012, Linkwell filed its quarterly report for the period ended March

  31, 2012 on Form 10-Q with the SEC which failed to report any results from the operations of its

  subsidiary disinfectant business.

         142.    In the notes to consolidated financial statements of the same Form 10-Q, Linkwell

  disclosed the elimination of the $2.4 million put option liability to Ecolab under the Stockholders

  Agreement – which was cancelled by Ecolab in March 2012.

         143.    Materials contemporaneously prepared by CD Defendants (reproduced below)

  confirm the secret agreement to spin-off Linkwell Tech, Likang Disinfectant and Likang

  Biological to Xuelian and Wei for no consideration to the Company:




                                                  36
                     The 3 Steps to Consummate the LWLL – Metamining (Meta) Reverse Acquisition (With 3 million Warrants)

                                                                                                                                                           Required Disclosure
     Step 1. LWLL acquires Meta with preferred stock (PS) for Meta

     The exchange                                                                           After the exchange
                                                                                                                                Other
                                                                                                                            Shareholders
                                                    Meta Inc.                                 Meta Inc.                    (including Bian
                                                     (CA)                                      (CA)                       and Guan 1.8%)

                                                         100%                                    91.1%                  8.9%

         LWLL                                         Meta                                      LWLL
          (FL)                                        (NV)                                       (FL)                                                       8K, 4 business days
                           100% equity                                                                                                                                             Legal acquirer (accounting
                                                                                                                      100%                                     after merger.
                             interest                                                                                                                                                 acquiree) = LWLL
            90%                                                                    90%
                                                                                                                                                                                   Legal acquiree (accounting
                                                                                                                                                            8K-A, 71 days after
     Linkwell Tech                                                          Linkwell Tech                      Meta                                                                     acquirer) = Meta
                        10%          Eco Lab (DE)       10%                                                                                                        8K.
         (FL)                                                                   (FL)                           (NV)

           100%                                                                   100%

        Likang                                                                Likang
      Disinfectant                                                          Disinfectant
         (PRC)                                                                 (PRC)
            100%                                                                   100%

       Likang Bio                                                            Likang Bio
         (PRC)                                                                 (PRC)




37
     Step 2. Meta to control the Board of Directors and execute reverse split of shares, conversion of preferred stock and                                        Proxy
     name change



     Step 3. LWLL spins off Linkwell Tech
     The spin off                                                                           After spin-off
                                   Meta Inc.                      Other                                      Meta Inc.                          Other
                                      (CA)                      Sharehold                                     (CA)                           Shareholdes                                  Proxy Issues
     Bian and Guan
         (1.4%                         91.1%                 8.9%                                                92.3%                 7.7%                                              1. Reverse Split
       ownership)
                                     LWLL                                                                     LWLL                                                                2. Conversion of preferred into
                                      (FL)                                                                     (FL)                                                                      common @ 1:1
                                                             100%
                              90%                                                                                100%                                                              3. Spin-off of Linkwell Tech
                                        Eco Lab
                                        (DE)
                     Linkwell Tech                    Meta                                                     Meta                                               Proxy                  4. Name change
                         (FL)             10%         (NV)                                                     (NV)
                                                                                                                                                                                   Note: The 4 issues could be
                              100%                                                                                                                                                     done in one proxy.

                       Likang
                     Disinfectant

                              100%

                      Likang Bio
                        (PRC)
                                                                                                                                                                                                                    Case 0:16-cv-62506-FAM Document 1 Entered on FLSD Docket 10/24/2016 Page 37 of 96
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                               Ownership With 3 Million Warrants

                  Pre-merger and Pre-reverse-split Common Stock Ownership
   CDII                                                           10,000,000          8.36%
   Likang former owners (Bian and Guan)                           36,000,000         30.10%
   Other LWLL Shareholders                                        73,605,475         61.54%
   LWLL Shares Outstanding as of 3/29/2012                       119,605,475        100.00%



             After Issuance of Shares of Preferred Stock on the Merger
   CDII                                                                 581,973      4.42%
   Metamining Shareholders (with 3 million warrants)                 12,000,000     91.05%

                            After Reverse Stock Split (200:1)
   CDII                                                                  50,000      0.38%
   Likang former owners (Bian and Guan)                                 180,000      1.37%
   Other LWLL Shareholders                                              368,027      2.79%
   LWLL Shareholders Subtotal                                           598,027      4.54%

   Total shares after the merger and reverse split                    13,180,000    100.00%



                                  After Spin-off of Linkwell Tech
   Cancellation of shares (Bian and Guan)                               (180,000)

   CDII                                                                  631,973     4.86%
   LWLL shareholders                                                     368,027     2.83%
   Metamining Shareholders (with 3 million warrants)                  12,000,000    92.31%

   Total shares of after the merger, reverse split and spin-off       13,000,000    100.00%


                           Breakout of Ownership Excluding Metaming
   CDII                                                                 631,973      4.79%
   Likang former owners (Bian and Guan)                                 180,000      1.37%
   Other LWLL Shareholders                                              368,027      2.79%

   Total ownership excluding Metamining                                1,180,000     8.95%




                                                  38
                         The 3 Steps to Consummate the LWLL – Metamining (Meta) Reverse Acquisition (Without Warrants)

                                                                                                                                                           Required Disclosure
     Step 1. LWLL acquires Meta with preferred stock (PS) for Meta

     The exchange                                                                           After the exchange
                                                                                                                                Other
                                                                                                                            Shareholders
                                                    Meta Inc.                                 Meta Inc.                    (including Bian
                                                     (CA)                                      (CA)                       and Guan 1.8%)

                                                         100%                                    88.4%                  11.6%

         LWLL                                         Meta                                      LWLL
          (FL)                                        (NV)                                       (FL)                                                       8K, 4 business days
                           100% equity                                                                                                                                             Legal acquirer (accounting
                                                                                                                       100%                                    after merger.
                             interest                                                                                                                                                 acquiree) = LWLL
            90%                                                                    90%
                                                                                                                                                                                   Legal acquiree (accounting
                                                                                                                                                            8K-A, 71 days after
     Linkwell Tech                                                          Linkwell Tech                      Meta                                                                     acquirer) = Meta
                        10%          Eco Lab (DE)       10%                                                                                                        8K.
         (FL)                                                                   (FL)                           (NV)

           100%                                                                   100%

        Likang                                                                Likang
      Disinfectant                                                          Disinfectant
         (PRC)                                                                 (PRC)
            100%                                                                   100%

       Likang Bio                                                            Likang Bio
         (PRC)                                                                 (PRC)




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     Step 2. Meta to control the Board of Directors and execute reverse split of shares, conversion of preferred stock and                                        Proxy
     name change



     Step 3. LWLL spins off Linkwell Tech
     The spin off                                                                           After spin-off
                                   Meta Inc.                      Other                                      Meta Inc.                          Other
                                      (CA)                      Sharehold                                     (CA)                           Shareholdes                                  Proxy Issues
     Bian and Guan
         (1.8%                         88.4%                 9.8%                                                90%                   10%                                               1. Reverse Split
       ownership)
                                        LWLL                                                                  LWLL                                                                2. Conversion of preferred into
                                         (FL)                                                                  (FL)                                                                      common @ 1:1
                                                             100%
                              90%                                                                                100%                                                              3. Spin-off of Linkwell Tech
                                        Eco Lab
                                        (DE)
                     Linkwell Tech                    Meta                                                     Meta                                               Proxy                  4. Name change
                         (FL)             10%         (NV)                                                     (NV)
                                                                                                                                                                                   Note: The 4 issues could be
                              100%                                                                                                                                                     done in one proxy.

                       Likang
                     Disinfectant

                              100%

                      Likang Bio
                        (PRC)
                                                                                                                                                                                                                    Case 0:16-cv-62506-FAM Document 1 Entered on FLSD Docket 10/24/2016 Page 39 of 96
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                                         Without Warrants

                  Pre-merger and Pre-reverse-split Common Stock Ownership
   CDII                                                           10,000,000          8.36%
   Likang former owners (Bian and Guan)                           36,000,000         30.10%
   Other LWLL Shareholders                                        73,605,475         61.54%
   LWLL Shares Outstanding as of 3/29/2012                       119,605,475        100.00%



             After Issuance of Shares of Preferred Stock on the Merger
   CDII                                                                  581,973     5.72%
   Metamining Shareholders                                             9,000,000    88.41%

                            After Reverse Stock Split (200:1)
   CDII                                                                  50,000      0.49%
   Likang former owners (Bian and Guan)                                 180,000      1.77%
   Other LWLL Shareholders                                              368,027      3.62%
   LWLL Shareholders Subtotal                                           598,027      5.87%

   Total shares after the merger and reverse split                   10,180,000     100.00%



                                  After Spin-off of Linkwell Tech
   Cancellation of shares (Bian and Guan)                               (180,000)

   CDII                                                                 631,973      6.32%
   LWLL shareholders                                                    368,027      3.68%
   Metamining Shareholders                                            9,000,000     90.00%

   Total shares of after the merger, reverse split and spin-off      10,000,000     100.00%




          144.   On May 29, 2012, Linkwell filed a Preliminary Information Statement on

  Schedule 14C which disclosed that, on May 24, 2012, the Board, comprised of Xuelian, Wei,

  Song and Ling, adopted and approved the Articles of Amendment: (a) to effect a reverse stock

  split at a 200:1 ratio rather than the previously disclosed 30:1 ratio; and (b) to change the

  corporate name of the Company to Sun Sage Resources, Inc.




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         145.    This Information Statement set forth that the Company’s principal shareholders,

  holding “60.1% of our outstanding voting securities have approved these actions on June [7],

  2012, by written consent in lieu of a special meeting of shareholders in accordance with the

  relevant provisions of the Florida Business Corporations Act.”

         146.    As of May 24, 2012, according to its Information Statement, Linkwell had

  119,605,475 shares of common stock and 9,581,973 shares of Series C convertible preferred

  stock outstanding. The Articles of Amendment were approved by the holders of 67,373,443

  shares of the Company’s common stock and 9,581,973 shares of the Series C convertible

  preferred stock. The holders of the voting securities that were stated to have approved these

  actions by written consent in lieu of a special meeting include Xuelian, Wei, Metamining, CD

  Defendants and Haimai Legal.

         147.    According to the Information Statement:

                 a.      Xuelian exercised voting and investment power over 30,420,919 shares of

  Linkwell common stock, 20,420,919 shares of which as a co-owner of Linkwell International

  Capital Ltd. (“Linkwell Int’l”);

                 b.      Wei exercised voting and investment power over 15,602,551 shares of

  Linkwell common stock, 13,602,551 shares of which as a co-owner of Linkwell Int’l;

                 c.      Song exercised voting and investment power over 9 million shares of

  Linkwell Series C convertible preferred stock owned by Metamining, and 3 million shares of

  Linkwell common stock issuable upon the exercise of outstanding Series C common stock

  purchase warrants exercisable anytime following the reverse stock split;

                 d.      Shengayo Wu (“Shengayo”) exercised voting and investment power over

  8.35 million shares of Linkwell common stock owned by Haimai Legal; and



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                 e.     Wang exercised voting and investment power over 581,973 shares of

  Linkwell Series C convertible preferred stock beneficially owned by CD Int’l through China

  Direct and 10 million shares of Linkwell common stock beneficially owned by CD Int’l through

  Capital Resource.

         148.    On July 26, 2012, Linkwell filed an amendment to its quarterly report for the

  period ended March 31, 2012 on Form 10-Q/A with the SEC. The amendment was filed in

  response to comments for the staff of the SEC and intended to address, among other things,

  certain risks faced by the Company as a result of the Transaction.

         149.    The amended risk factors disclosed that the Metamining never commissioned or

  received feasibility studies or obtained operating permits to either explore or mine the mineral

  rights on the Nevada Properties.       Moreover, substantial feasibility work and capital were

  required just to demonstrate economic viability. Even further, the filing disclosed that the

  Company may not be able to establish sufficient mineral reserves to ever justify commercial

  operations on the Nevada Properties.

         150.    On the same day, Linkwell also filed a Form 8-K/A (amendment no. 2) amending

  the May 11, 2012 Form 8-K/A to provide a revised disclosure in Note 1 of the previously

  submitted Audited Financial Statements.          These curative disclosures confirmed that the

  representations Linkwell made about Metamining Nevada and its business in prior disclosures

  filed with the SEC were materially misleading.

         151.    On August 20, 2012, Linkwell filed a quarterly report for the period ended June

  30, 2012 on Form 10-Q with the SEC which contained the results of operations from the

  Company’s subsidiary disinfectant business and reported revenue, profit and income for the 3

  and 6 months ended June 30, 2012 in its consolidated statements of operations. The Form 10-Q



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  filing disclosed that Metamining Nevada had no operations during the 6 months ended June 30,

  2012.

          152.   On September 11, 2012, Linkwell filed a Form 8-K/A (amendment no. 2)

  amending the May 11, 2012 Form 8-K/A to provide a revised disclosure in Note 1 of the

  previously submitted Audited Financial Statements. These curative disclosures again confirmed

  that the representations Linkwell made about Metamining Nevada and its business in prior

  disclosures filed with the SEC were materially misleading.

          153.   On October 25, 2012, Linkwell filed a Definitive Information Statement on

  Schedule 14C announcing the adoption and approval by the Board of the Articles of

  Amendment. The Articles of Amendment, which are annexed to the Information Statement, set

  forth that the effective date for the reverse stock split is November 16, 2012.

          154.   The Information Statement represented that “the holders of 60.1% of our

  outstanding voting securities have approved these actions on October 10, 2012, by written

  consent in lieu of a special meeting of shareholders in accordance with the relevant provisions of

  the Florida Business Corporations Act.” The holders of the voting securities that were stated to

  have approved these actions by written consent in lieu of a special meeting were Xuelian, Wei,

  Song, Metamining, CD Int’l. China Direct, Capital Resource and Haimai Legal.

          155.   On November 15, 2012, Linkwell filed its quarterly report for the period ended

  September 30, 2012 on Form 10-Q with the SEC.              The Form 10-Q filing disclosed that

  Metamining Nevada still had no operations during the 9 months ended September 30, 2012.

          156.   As a result of the business conducted by its operating subsidiaries in China,

  Linkwell had, as of December 31, 2011, cash and cash equivalents of $2,919,670, accounts

  receivable of $12,651,347, total assets of $27,446,588, total liabilities of $10,012,087, total



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  stockholders’ equity of $17,434,501, and working capital of $1,997,311 with no material

  commitments for capital expenditures.

         157.    As of the date of its last Form 10-Q filed with the SEC on November 15, 2012,

  none of the Company’s liquidity or capital resources were utilized to make any of the payments

  due under the Purchase and Sale Agreements.

         C.      Ecolab Acquires Linkwell Tech, Likang Disinfectant and Likang Biological

         158.    Ecolab identified Linkwell Tech, Likang Disinfectant and Likang Biological as

  corporate subsidiaries in its Annual Return on Form 10-K for fiscal year ended December 31,

  2012 (filed with the SEC on February 26, 2013). The “List of Subsidiaries,” which is included

  as an exhibit to the Form 10-K filing, set forth the disclaimer that “[c]ertain additional

  subsidiaries, which are not significant in the aggregate, are not shown.”

         159.    Ecolab did not identify Linkwell Tech as a subsidiary in the 2008 Annual Return

  on Form 10-K that it filed with the SEC after the acquisition of 10% of the equity of the

  company in 2008. In fact, Ecolab’s historical practice has been to list as subsidiaries only those

  companies in which it maintains at least a majority ownership interest. The List of Subsidiaries

  exhibit to Ecolab’s 2011 Annual Return on Form 10-K defines subsidiaries as only those

  companies where Ecolab has equity interests of 50.1% and above.

         160.    The disclosures in the 2012 Annual Return on Form 10-K represented that

  Linkwell Tech, Likang Disinfectant and Likang Biological are significant majority-owned

  subsidiary companies of Ecolab and that “[a]ll significant majority-owned subsidiaries are

  included in the filed consolidated financial statements.” Thus, the assets, liabilities and results of

  operations of Linkwell Tech, Likang Disinfectant and Likang Biological were included in

  Ecolab’s consolidated financial statements for 2012.



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          161.    Linkwell did not file an Annual Return on Form 10-K for fiscal year ended

  December 31, 2012 with the SEC. Linkwell did not file an annual or quarterly financial report

  with the SEC after Plaintiff commenced this action. Upon information and belief, Linkwell did

  not file any financial reports with the SEC after the quarter ended September 30, 2012 to avoid

  having to disclose, among other things: (a) how Ecolab came to acquire Linkwell Tech, Likang

  Disinfectant and Likang Biological as significant majority-owned subsidiaries; (b) what

  consideration, if any, Linkwell was paid for these assets and operations; and (c) if not, to whom

  such consideration was paid.

          162.    At all relevant times, Ecolab knew that Linkwell, as a publicly traded company,

  would be required to disclose to the SEC and its shareholders any material agreement to acquire

  all or substantially all of the Company’s assets and operations.

          D.      Ecolab Discovers this Action and Distances Itself from
                  Linkwell

          163.    Plaintiff commenced the Derivative Action on December 26, 2012.1

          164.    Upon information and belief, sometime prior to April 22, 2013, Ecolab obtained

  notice of the Complaint which identified it as a relevant non-party. The basis for that belief is

  that on April 22, 2013, Linkwell, Linkwell Tech and Ecolab executed a redemption agreement

  (“Redemption Agreement”) whereby: (a) Linkwell Tech agreed to repurchase the 10% equity

  interest expressly obtained by Ecolab pursuant to the Stock Purchase Agreement in 2008; and (b)

  the parties terminated in their entirety the agreements between and amongst themselves,

  including the Stock Purchase Agreement and the Stockholders Agreement.




  1
    Plaintiff filed a Verified Shareholders Derivative Complaint (“Complaint”) after serving the Board with
  a books and records demand and litigation demand.

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         165.    Under the terms of the Redemption Agreement, Linkwell Tech purchased the

  888,889 shares of its stock that Ecolab had acquired from Linkwell for $2.4 million – the same

  price that would have been paid by Linkwell under the Put Option in the Stockholders

  Agreement had it not been terminated by Ecolab in March 2012.

         166.    Ecolab returned the share certificate representing the 888,889 shares of Linkwell

  Tech stock to Linkwell Tech, not Linkwell. According to the Company’s Form 10-Q filing for

  the quarterly period ended September 30, 2012 (filed November 15, 2012), Linkwell Tech was a

  90% owned subsidiary of Linkwell.

         167.    Upon information and belief, Ecolab returned the shares to Linkwell Tech

  because Linkwell no longer possessed an equity interest in the subsidiary company.

         E.      The Transaction is Unwound

         168.    On October 17, 2013, Plaintiff moved for an Order granting partial summary

  judgment on the claim in the Complaint for unjust enrichment against Song, Ling, Metamining,

  Metamining Nevada, CD Int’l and China Direct. Plaintiff asserted in the motion that, because of

  Song’s admissions in the Zhenhua Action that Linkwell received no value in exchange for

  approximately 94% of its equity, there was no genuine issue of material fact that Song, Ling,

  Metamining, Metamining Nevada, CD Int’l and China Direct had been unjustly enriched.

         169.    Song submitted two declarations under the penalties of perjury in the Zhenhua

  Action stating that Metamining was the present owner of the Nevada Properties (or the Iron

  Horse Project), not Linkwell or Metamining Nevada.

         170.    On June 26, 2013, Song filed a declaration (ECF No. 85-16) opposing plaintiff’s

  ex parte application for a writ of attachment, temporary restraining order and preliminary

  injunctive relief.   The declaration set forth that:   “Metamining presently holds assets with

  significant value. These assets are in the form of real property, mining rights and infrastructure,
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  and equipment of three mining operations: the Coal Creek (Spiro) Mine in Oklahoma, the Iron

  Horse Project in Nevada, and Barnett Energy LLC, which holds mining rights in Virginia.”

  (Emphasis added.)

         171.   On July 2, 2013, Song filed a supplemental declaration (ECF No. 106-2) which

  stated that “Metamining holds a 100% ownership interest in the Iron Horse Project ….”

  (Emphasis added.)

         172.   During his deposition in the Derivative Action, Song confirmed that the

  statements made in his July 2, 2013 declaration are true and accurate. His testimony objectively

  contradicts the November 12, 2013 declaration Song submitted in the Derivative Action (ECF

  No. 101-1) in which he states under the penalty of perjury that “Metamining indirectly owns

  88% of the Iron Horse Project” and that “Metamining claims no direct ownership of the Iron

  Horse Project.”

         173.   In response to Plaintiff’s motion, Xuelian, Wei, Song, Ling and Wang determined

  to unwind that portion of the Transaction whereby Linkwell acquired 100% of the equity in

  Metamining Nevada in exchange for the delivery of approximately 94% of the Company’s

  equity to Song, Ling, Metamining, Metamining Nevada, CD Int’l, China Direct and Capital

  Resource.

         174.   Linkwell disclosed in a Form 8-K filing with the SEC on November 26, 2013 that

  it sold 100% of its “interest” in Metamining Nevada back to Metamining pursuant to an equity

  transfer agreement.   The filing further disclosed that, under the terms of said agreement,

  Metamining cancelled the Linkwell shares and stock warrants it owned.




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         175.    Documents produced in discovery indicate that CD Int’l, China Direct and Capital

  Resource returned the Linkwell stock obtained from the Company in connection with the

  Transaction.

         176.    The prosecution of the Derivative Action by Plaintiff was the main reason for the

  unwinding of that portion of the Transaction in which Song, Ling, CD Int’l, China Direct and

  Capital Resource acquired substantially all of the Company’s equity and Xuelian and Wei sought

  to spin-off Linkwell Tech, Likang Disinfectant and Likang Biological to themselves and/or to

  Ecolab for their own self benefit. Song confirmed as much at his July 20, 2015 deposition:

                 Q.      You mentioned that part of the reason that the transaction
                 was unwound was because the capital that was sought was not able
                 to be raised; is that correct?

                 A.     No, it’s not entirely so. The main reason I would say is
                 because of the litigation. We were sued.

                 Q.     And when you say “the litigation,” do you mean this
                 lawsuit filed by Frederick Siegmund?

                 A.     Yes.

                 Q.    Ultimately we saw in the documents that the reverse
                 merger was unwound, Linkwell returned to the position it was
                 premerger; is that correct?

                 A.     Yes.

  Song Tr. (July 20, 2015) at 294:19 - 295:10.

         F.      The Acquisition

         177.    At the time the Acquisition was undertaken, Plaintiff’s claims in the Derivative

  Action had already survived a motion to dismiss. On May 21, 2013, the Court issued an Order

  (ECF No. 41) denying the motions of Song. Ling, Metamining, Metamining Nevada, CD Int’l,

  China Direct and Capital Resource to dismiss. On January 8, 2014, the Court issued an Order




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  (ECF No. 113) denying the motion of CD Int’l, China Direct and Capital Resource for

  reconsideration of the Order denying their motion to dismiss.

           178.   On January 16, 2014, the Court entered Discovery Orders (ECF Nos. 116-18) that

  directed Linkwell, Song, Ling, Metamining, Metamining Nevada, CD Int’l, China Direct and

  Capital Resource to respond to Plaintiff’s outstanding discovery requests.

           179.   Xuelian and Wei, in their capacity as directors and officers of Linkwell, prevented

  the Company from complying with the Omnibus Order – which directed Linkwell to answer

  interrogatories and produce documents by January 31, 2014 – and/or failed to take action to

  cause the Company to comply.

           180.   Xuelian and Wei then retained Sidley to structure a transaction to divest Plaintiff

  of his shares of Linkwell stock and standing to maintain the Derivative Action. Sidley developed

  a scheme whereby Xuelian, Wei, Yinling and their affiliates would acquire Linkwell and the

  revenue generating assets and operations of its subsidiary companies at a fraction of their fair

  value.    Given the pendency of the Derivative Action, however, the scheme could be

  accomplished only by withholding notice of such transaction from Plaintiff until after it was

  consummated.

           181.   On March 28, 2014, Sidley prepared a proposed transaction structure and fee

  proposal for Likang Disinfectant (“Proposal”) based on prior discussions conducted with Xuelian

  and Liyong. According to documents produced in discovery, Sidley began working on the

  Proposal on March 7, 2014.

           182.   Pursuant to the Proposal, Sidley would represent Likang Disinfectant in

  connection with the deregistration of Linkwell’s securities with the SEC, followed by a one step

  merger between Linkwell and Yinling, and then a post-merger restructuring of the private



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  company in preparation for a subsequent public offering in China for a fee of RMB 950,000. In

  relevant part, the Proposal described the proposed transaction structure as follows:

                 a.      Linkwell will ‘go dark” and terminate its filing obligations with the SEC

  by filing a Form 15;

                 b.      Liyong’s organization (Yinling) establishes two vehicles, a parent

  company in an offshore jurisdiction and a merger subsidiary in Florida;

                 c.      Yinling serves a merger proposal on the Board;

                 d.      The Board evaluates the terms of the merger proposal;

                 e.      “[Yinling] serves a first draft of the agreement and plan of merger on the

  [B]oard and the [B]oard, (if necessary, consider to engage its separate counsel), evaluates said

  agreement;”

                 f.      Yinling, the Board and their counsel negotiate the agreement and plan of

  merger;

                 g.      The Board accepts the agreement and plan of merger and authorizes its

  execution by the Company;

                 h.      Linkwell prepares a proxy statement and other related documents and

  distributes them to its stockholders;

                 i.      Linkwell calls a special meeting to vote on the agreement and plan of

  merger;

                 j.      “At the stockholders meeting affirmative vote in excess of majority is cast

  to approve the merger;”




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                 k.      Yinling files a certificate of merger with the Secretary of State of Florida

  and consummates the merger, Leading First becomes the parent of Linkwell and all existing

  shareholders are cashed out; and

                 l.      “Linkwell undergoes post-merger restructuring in preparation for a

  domestic IPO.”

          183.   On April 4, 2014, Likang Disinfectant retained Sidley as legal counsel in

  connection with the Acquisition.

          184.   Pursuant to the Likang Engagement Letter, Sidley agreed to provide advice and

  assistance to Likang Disinfectant in: (a) the filings of relevant documents in relation to the going

  dark of Linkwell with the SEC and in response to any inquiry by FINRA; (b) the organization of

  an acquisition vehicle in Florida; (c) the structuring and execution of a going private proposal,

  including the preparation of an agreement and plan of merger; and (d) liaising with the transfer,

  depository and paying agents.

          185.   The Likang Engagement Letter set forth a fee for legal services to be rendered in

  connection with the Acquisition of RMB 950,000.             The fee amount was based on the

  understanding that completion of the Acquisition did not involve any extraordinary

  circumstances that will cause the fee arrangement to become impracticable, there will not be any

  extraordinarily extensive negotiation which would require Sidley’s attendance and all

  negotiations on the deal documents will take place in mainland China and reasonably permit

  Sidley’s attendance by telephone. The fee amount was further qualified by stated assumptions

  that:

                 a.      The Acquisition will take the form of a one-step merger after going dark;

                 b.      There will be no review by or comment from the SEC;



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                 c.      The language for all legal documents shall be English and no need for

  translation;

                 d.      The negotiation on the agreement and plan of merger is minimal;

                 e.      There is no third party “interloper” during the course of the Acquisition;

  and

                 f.      There is no litigation during the course of the Acquisition.

          186.   On April 11, 2014, the Notice of Termination was filed on behalf of the Company

  with the SEC which indicated that Linkwell would deregister its securities and cease publicly

  filing financial statements or periodic reports.

          187.   On April 15, 2014, counsel for Plaintiff requested, through counsel for CD Int’l,

  China Direct and Capital Resource, an April 16, 2014 meet and confer with a representative of

  Linkwell to discuss Plaintiff’s intention to move for an Order of Contempt in light of the

  Company’s failure to comply with the Omnibus Order and the recent filing of the Notice of

  Termination. Plaintiff sought to ascertain whether and when Linkwell would comply with the

  Omnibus Order.

          188.   Counsel for Plaintiff received no response to the request for a meet and confer.

          189.   Documents produced in discovery show that on April 17, 2014, Plaintiff’s request

  for a meet and confer was sent to Jue Wang (“Jue”) (the Corporate Secretary of Linkwell,

  Linkwell Tech and Likang Disinfectant), and that Jue forwarded the communication to Liyong

  and Calamus Huang, an attorney at Sidley’s Singapore office.

          190.   On April 18, 2014, Plaintiff moved for an Order of Contempt against Linkwell

  (ECF No. 142).




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         191.    On April 22, 2014, the Supplement was executed whereby Likang Disinfectant

  retained Sidley to provide legal advice and assistance to Linkwell, Xuelian and Wei in

  connection with the claims asserted only against Xuelian and Wei in the Derivative Action.

         192.    Sidley did not obtain a waiver of conflicts from Linkwell for its simultaneous

  representation of Linkwell and adverse parties Xuelian and Wei in the Derivative Action. Nor

  did Sidley request or obtain the consent or waiver of conflicts from the Company’s public

  shareholders to simultaneously represent Linkwell, Xuelian and Wei in the Derivative Action.

         193.    On July 9, 2014, Yinling retained Sidley as legal counsel in connection with the

  Acquisition. On the same date, Liyong executed a letter acknowledging the conflict or potential

  conflict of interest arising from Sidley’s representation of both Yinling and Likang Disinfectant

  in the Acquisition and consented to Sidley’s representation of Likang Disinfectant.

         194.    On July 16, 2014, Xuelian executed a similar letter acknowledging the conflict or

  potential conflict of interest arising from Sidley’s representation of both Likang Disinfectant and

  Yinling in the Acquisition and consented to Sidley’s representation of Yinling.

         195.    On July 11, 2014, the Court entered an Order (ECF No. 173) in the Derivative

  Action that granted Plaintiff’s September 17, 2013 motion for alternative service of process upon

  Xuelian and Wei.

         196.    On July 15, 2014, Xuelian and Wei were served with the Second Amended

  Verified Shareholders Derivative Complaint.

         197.    On August 7, 2014, Plaintiff filed the Third Amended Verified Shareholders

  Derivative Complaint (ECF No. 187) (“Third Amended Complaint”) which, among other things,

  named Ecolab as a Defendant in the Derivative Action. At that time, Plaintiff had no knowledge

  of the Acquisition, that Sidley had been engaged to represent both Likang and Yinling in the



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  Acquisition or that Sidley had been engaged to represent Linkwell, Xuelian and Wei in the

  Derivative Action.

         198.    On August 12, 2014, the Board purportedly approved the Merger Agreement and

  authorized its execution.

                 1.      The Notice and Proxy Statement

         199.    After the Board approved the execution of the Merger Agreement, Sidley drafted

  a notice for the Special Meeting on September 19, 2014 in Shanghai (“Notice”) and the Proxy

  Statement. Sidley, in concert with Xuelian and Wei, had the task of ensuring that, among other

  things, the Notice and Proxy Statement were disseminated to all Linkwell shareholders. In

  violation of Florida law, Sidley, Xuelian and Wei determined not to mail these materials to

  Plaintiff and the other shareholders of Linkwell that held their stock in street name.

         200.    Since Xuelian, Wei and parties that they control or with whom they are affiliated

  owned more than 60% of Linkwell stock, Sidley determined that it was not necessary to send the

  Notice and Proxy Statement to public shareholders holding approximately 37% of the equity or

  solicit their proxies to vote on the Merger Agreement. Moreover, in light of the pendency of the

  Derivative Action, Sidley, in concert with Xuelian and Wei, determined not to disclose the

  Acquisition to Plaintiff and the other shareholders of Linkwell that held their stock in street name

  in order to prevent them from taking any action (i.e., seeking an injunction or other rights) until

  after the Acquisition was consummated.

         201.    On August 19, 2014, Sidley attorney Calamus Huang (“Huang”) emailed the

  stock transfer agent for Linkwell, Signature Stock Transfer, Inc. (“Signature”) about mailing the

  Notice and Proxy Statement to Linkwell shareholders of record as of August 15, 2014 that were

  located in the United States. The August 19 email copied Sidley partner Joseph Chan (“Chan”)

  and Jue, and set forth, in relevant part, as follows:
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                 According to Linkwell’s bylaws, “If a notice is mailed at least
                 thirty days before the date of the meeting, it may be done by a
                 class of United States mail other than first class. If mailed such
                 notice shall be deemed to be delivered when deposited in the
                 United States mail, addressed to the shareholder at his address as
                 it appears on the stock transfer books of the corporation, with
                 postage thereon prepaid.”

                 In this regard, would you please kindly answer our questions
                 below:

                 Would it be fine with you that you handle the mailing of the proxy
                 statement to those shareholders on record whose address is outside
                 [C]hina and Linkwell itself will handle the mailing to those
                 shareholders whose address is inside China?

                 Is it possible for you to post the proxy statement by US mail other
                 than first class on August 20 (New York time)?

         202.    Signature responded to Sidley on the same date that it would mail the Notice and

  Proxy Statement to “all direct holders of record (outside of China) on 8-20-2014.” Huang wrote

  back that: “We note that some record holder[s] such as Cede & Co. is holding Linkwell shares as

  nominee for hundreds of beneficial holders. Would you please … explain how such record

  holder will handle it after receiving the proxy statement from you according to your experience?”

  Signature addressed Sidley’s inquiry as follows:

                 For all street named holders who hold stock through (a broker or
                 through DTCC/CEDE & CO) we will do a search with Broadridge
                 (who does the mailing for all brokerage houses but please note the
                 search will take at least a week and brokerage holders will not be
                 mailed their items by Broadridge until at least 10 days). I am
                 sorry but I cannot speed up the process.

                 Also note for brokerage house purposes we will have to create a
                 current or future record date. (Emphasis added.)

         203.    Additional emails circulated between Sidley and Signature on August 19

  confirmed that the Notice and Proxy Statement would be mailed on August 20, 2014 to only

  direct holders of Linkwell stock. With respect to holders in street name, Sidley took the position


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  that “we only need to mail to the record holders. We are fine with the arrangement in relation to

  these shareholders whose shares are held by nominees.”

         204.    On August 28, 2014, Huang emailed Signature to inquire about the status of the

  search and to confirm that the Notice and Proxy Statement was mailed to Cede & Co. on August

  20. This communication copied Chan and Jue. Signature responded by email on August 29,

  2014 stating, in relevant part, as follows:

                 Broadridge will do the mailing to all street holders the end of next
                 week or the week later (note as I stated all I can do is operate in the
                 time constraints they have). CEDE was mailed 1 copy but that
                 really doesn’t matter as they cannot vote their position (as their
                 position has to be voted through Broadridge by the direct holders).
                 Note there is nothing I can do beyond what has already been done
                 for the mailing/solicitation of prox[ies].

         205.    On the same day, Huang wrote back to reconfirm that Sidley was not concerned

  whether holders in street name timely received the Notice and Proxy Statement, stating: “We are

  totally fine with the procedures that you have to take in relation to street holders and appreciate

  your efforts and cooperation very much.”

         206.    On September 9, 2014, Signature emailed Jue about the process of mailing the

  Notice and Proxy Statement to shareholders of Linkwell that held their stock in street name.

  Signature wrote:

                 Note all holders in street name need to be mailed by Broadridge if
                 you are soliciting proxies … as they would also have to vote
                 through Broadridge (not directly your firm).

                 Also we are being told that there is not enough time for the
                 mailing/vote for street named holders to respond (usually a
                 mailing/vote is done giving the shareholders at least 30 days to
                 respond after the items are mailed). Please advise if you wish to
                 postpone the meeting or if you have the votes in house already if
                 you wish to forego the proxy process with Broadridge and make
                 this a mailing only. (I will check to see if this is only a mailing if
                 they can mail to all holders except those on the NOBO list in


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                 China since there would be no proxy if you like). (Emphasis
                 added.)

         207.    On September 10, 2014, Jue responded in an email stating, in relevant part, as

  follows:

                 First of all we won’t postpone the meeting and we do have more
                 than 60% votes in house already. Of course, I will double check
                 with our attorney in relation to the forgoing of the proxies.

                 Forgive my asking, will Broadridge refused [sic] [to] do the
                 mailing/[v]ote if we might don’t take those votes into account?
                 (Emphasis added.)

         208.    Signature responded that Broadridge would not refuse to do the mailing.

         209.    On September 10, 2014, Huang emailed Signature regarding the concern

  expressed to Jue that the mailing of the Proxy Statement to holders in street name gave them

  insufficient time to respond. The September 10, 2014 email copied Jue and Chan, and set forth,

  in relevant part, as follows:

                 Has … Broadridge posted the proxy statement to the street named
                 holders? I understand from [Jue] that you are concerned that there
                 may not be enough time for these holders to respond. However,
                 according to Linkwell’s by-laws, if a notice of special meeting is
                 mailed at least 30 days before the date of the meeting, it shall be
                 deemed to be delivered when deposited in the US mail, addressed
                 to the shareholder at his address as it appears on the stock transfer
                 books. Therefore, the notice has been delivered in compliance
                 with Linkwell’s by-laws.

                 Also, the proxy statement clearly stated that if a shareholder
                 abstains from voting, fails to cast his vote in person or by proxy or
                 fails to give voting instructions to his broker, dealer, commercial
                 bank, trust company or other nominee, it will have the same effect
                 as a vote “AGAINST” the approval of the merger agreement.
                 Therefore, Broadridge can simply mail the whole package of the
                 notice of special meeting, the proxy statement and proxy card to
                 those street named holders.

                 Since the proxy statement has set out clear instructions, we don’t
                 think a separate cover letter is necessary.


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         210.    On September 12, 2014, Jue wrote Signature that the mailing to Linkwell

  shareholders that held their stock in street name should not include proxy solicitations.

         211.    Even if the Proxy Statement was mailed by Broadridge to holders in street name

  without proxy solicitations on September 12, it was already too late as the Special Meeting was

  scheduled to be held in 7 days and Section 607.0705(a) of the Florida Statutes requires notice to

  be sent not fewer than 10 days before the meeting date.

         212.    On September 17, 2014, Huang emailed Signature to confirm the status of the

  mailing of the Proxy Statement to holders in street name. The September 17, 2014 email copied

  Jue and Chan, and set forth, in relevant part, as follows:

                 Would you please let us know whether or not Broadridge has
                 mailed the proxy statement? … If Broadridge hasn’t done the
                 mailing before September 19, this Friday, the day on which the
                 special meeting is scheduled to be held, we may consider to
                 adjourn the meeting if necessary. Therefore, it is very important
                 for us to know the status of the mailing as soon as possible.
                 (Emphasis added.)

         213.    On September 18, 2014, Huang again emailed Signature to inquire whether

  Broadridge had mailed the Proxy Statement to Linkwell shareholders in the U.S. holding their

  shares in street name and, if not, how much time Broadridge needed to complete the mailing.

  However, the mailing had not been done as Xuelian, Wei and Sidley intended.                 Sidley

  determined to not to send the Notice or Proxy Statement to street name holders at all and, in

  violation of Florida law, proceeded with the Special Meeting, thus preventing street name

  holders, including Plaintiff, from moving to enjoin the Acquisition before its consummation.

         214.    On September 19, 2014, the very next day, the Special Meeting was held and the

  Acquisition was approved by Xuelian, Wei and parties controlled by or affiliated with them, and

  without the mailing of the Notice or Proxy Statement to Plaintiff and other Linkwell shareholders



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  that held their stock in street name. Sidley engineered this result by acting far beyond their

  capacity as lawyers, but rather as agents for Xuelian and Wei.

                 2.       The Proxy Statement is Materially Misleading

         215.    The Proxy Statement prepared by Sidley is materially misleading because it

  falsely portrays the Acquisition as an arm’s length transaction between Linkwell and a third

  party buyer, Yinling.

         216.    According to the Proxy Statement, in February 2014, Yinling contacted Linkwell,

  Xuelian and/or Wei to express an interest in acquiring all of the outstanding shares of the

  Company.

         217.    In March 2014, Xuelian and/or Wei, on behalf of Linkwell, purportedly executed

  a non-disclosure agreement with Yinling. Pursuant to the Proxy Statement, Yinling commenced

  its business, financial and legal due diligence following the execution of that agreement.

         218.    On April 12, 2014, Yinling requested that negotiations with Linkwell be

  conducted on an exclusive basis for six months with no solicitation of other proposals or

  negotiations with other bidders, and Linkwell granted Yinling’s request.

         219.    Records filed with SAIC indicate, however, that Yinling was not even formed

  until April 18, 2014. Moreover, in response to Plaintiff’s discovery requests concerning any due

  diligence sought by the parties to the Acquisition, Sidley represented that “after a reasonable

  search, no responsive documents exist.”

         220.    The Proxy Statement sets forth that, on July 25, 2014, Yinling submitted a

  preliminary non-binding proposal (“Proposal Letter”) to Linkwell to acquire all of the

  Company’s outstanding stock in a merger transaction for $0.18 per share. The Proxy Statement

  does not disclose that the Proposal Letter was prepared by Sidley, or the nature of Sidley

  relationship with Yinling in connection with the Acquisition. The Proxy Statement does not
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  disclose the Derivative Action or that a primary purpose of the Acquisition was to terminate the

  Derivative Action.   The Proxy Statement does not disclose that after the Acquisition was

  consummated, Xuelian and Wei intended to restructure Linkwell in preparation for a public

  offering in China.

         221.    The Proxy Statement further sets forth that the Board, Yinling and Sidley held

  various meetings to discuss material issues arising from a draft merger agreement and to

  determine the positions of the Board with respect to those issues. Sidley also held a number of

  conference calls with the Company to summarize and explain the key terms of the merger

  agreement and communicated the Board’s positions on key issues to Yinling. On August 10,

  2014, the parties reached an agreement in principle on all major issues, including the $0.88 per

  share offer price and a non-solicitation provision pursuant to which Linkwell was prohibited

  from actively soliciting alternative transaction proposals.   On August 12, 2014, Linkwell,

  Leading First and Leading World purportedly executed the Merger Agreement.

         222.    The Proxy Statement does not disclose, however, that Likang and Yinling reached

  an agreement to consummate the Acquisition in March/April 2014. In fact, most of the events

  described in the Proxy Statement were planned and scheduled in a document titled “Timetable

  for the Merger and Acquisition of Linkwell Corporation,” which was prepared by Sidley and

  circulated to Liyong and Jue on April 16, 2014. The timetable sets forth tentative dates by

  which, among other things: (a) Linkwell accepts the Merger Agreement, prepares the Proxy

  Statement and convenes the Special Meeting; and (b) Yinling submits a certificate of merger to

  the Florida Department of State to complete the merger. Absent from the timetable are action

  items involving the preparation of Linkwell financial results for the periods proximate to the




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  vote, projections of future performance, or financial analyses or fairness opinion with respect to

  the merger consideration.

                  3.     Xuelian, Wei and their Affiliates Approve the Merger
                         Agreement at the Special Meeting

         223.     According to the Notice, all Linkwell shareholders were invited to attend the

  Special Meeting in Shanghai on September 19, 2014.

         224.     The stated purpose of the Special Meeting was to approve the Merger Agreement,

  which provided for the merger of Leading World with and into Linkwell, with Linkwell

  surviving as a wholly owned subsidiary of Leading First. The Notice further set forth, among

  other things:

                  Regardless of the number of shares of Company common stock
                  you own, your vote is important. The failure to vote will have the
                  same effect as a vote against the proposal to approve the merger
                  agreement. Whether or not you plan to attend the special meeting,
                  please take the time to submit a proxy by following the instructions
                  on your proxy card as soon as possible. If your shares of the
                  Company common stock are held in an account at a broker, dealer,
                  commercial bank, trust company or other nominee, you should
                  instruct your broker, dealer, commercial bank, trust company or
                  other nominee to vote in accordance with the voting instruction
                  form furnished by your broker, dealer, commercial bank, trust
                  company or other nominee.

                                                   …

                  Company common shareholders who do not vote in favor of
                  approval of the merger agreement will have the right to seek
                  appraisal and receive the fair value of their shares in lieu of
                  receiving the per share merger consideration if the merger closes
                  but only if they perfect their appraisal rights by complying with the
                  required procedures under Florida law which are summarized in
                  the accompanying proxy statement. The procedure for dissent and
                  appraisal is described in Sections 607.1301 to 607.1333 of the
                  Florida Business Corporation Act, which are attached as Annex B
                  to the proxy statement accompanying this notice. We are
                  providing this notice and a copy of such sections pursuant to
                  Section 607.1320 of the Florida Business Corporation Act. Florida
                  law requires strict adherence to the procedures set forth therein,

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                and failure to do so may result in the loss of all dissenters’
                appraisal rights. Accordingly, each shareholder who might desire
                to exercise dissenter’s appraisal rights should carefully consider
                and comply with the provisions of those sections and consult with
                his or her legal advisor. (Emphasis added.)

         225.   According to the shareholder’s attendance sheet, the following Linkwell

  shareholders were present at the Special Meeting:

                a.      Linkwell Int’l (represented by Xuelian and Wei) (170,118 shares);

                b.      Xuelian (50,000 shares) and Wei (11,000 shares);

                c.      Shanghai   Likang    Pharmaceutical   Technology    Co.   Ltd   (“Likang

  Pharmaceutical”) (represented by Xuelian) (2,500 shares);

                d.      Haimai Legal (41,750 shares);

                e.      Honglin Li (“Honglin”) (20,000 shares);

                f.      Wensheng Sun (“Wensheng”) (5,000 shares);

                g.      Qiqing Zong (“Qiqing”) (11,030 shares);

                h.      Jue (17,500 shares); and

                i.      Liumei Chen (“Liumei”) (19,010 shares).

         226.   According to the Company’s 2011 Form 10-K, Xuelian and Wei own all of the

  equity of Linkwell Int’l. Additionally, Xuelian and Wei respectively own 90% and 10% of

  Likang Pharmaceutical.

         227.   Wensheng is Chief Operating Officer of Likang Disinfectant and serves as a

  member of that company’s board of directors with Xuelian, its Chairman. Wensheng is also

  President of Zhongyou Pharmaceutical.

         228.   Shengyao a director and partner of Haimai Legal, exercises voting and investment

  power over the Linkwell shares owned by Haimai Legal. Shengyao is also a member of the

  Likang Disinfectant board.
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         229.    Jue is the Secretary to the Board, the Corporate Secretary at Linkwell Tech and

  the Secretary and a supervisor at Likang Disinfectant.

         230.    Honglin is the President of Inner Mongolia Likang Biological Co., Ltd., a

  Linkwell related party.

         231.    Upon information and belief, Qiqing was a consultant to Linkwell and awarded 2

  million shares of Linkwell stock in May 2011.

         232.    Liumei is a supervisor at 2 Linkwell affiliated companies, Shanghai Yikang

  Environmental Technology, Co., Ltd. (“Yikang Environmental”) and Shanghai Zhongyou Health

  Management Consulting Co., Ltd. (“Zhongyou Health Management”).            Xuelian is the sole

  shareholder of Yikang Environmental and Zhongyou Health Management.

         233.    Linkwell Int’l, Likang Pharmaceutical, Haimai Legal, Honglin, Wensheng,

  Qiqing, Jue and Liumei are entities or individuals controlled by or affiliated with Xuelian and

  Wei.

         234.    Xuelian, Wei, Linkwell Int’l, Likang Pharmaceutical, Haimai Legal, Honglin,

  Wensheng, Qiqing, Jue and Liumei voted to approve the Plan of Merger and Merger Agreement

  at the Special Meeting. The votes cast by these attendees at the Special Meeting represented

  347,908 of the total 348,508 shares of Linkwell stock voted in favor of approving the Plan of

  Merger and Merger Agreement.

         235.    Xuelian and Wei beneficially owned 233,618 of the total 348,508 Linkwell shares

  cast to approve the Plan of Merger and Merger Agreement. These 233,618 shares represented

  43% of all Linkwell shares and 67% of all Linkwell shares voted at the Special Meeting.




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         236.   The Plan of Merger and Merger Agreement could not have been approved, and

  the Acquisition could not have been consummated, without the shares of Xuelian and Wei being

  cast to approve the Plan of Merger and Merger Agreement.

         237.   No votes were cast or counted against approval of the Plan of Merger or Merger

  Agreement. Pursuant to the Notice, shares of Linkwell stock that were not voted at the Special

  Meeting were to have the same effect as a vote against the proposal to approve the Merger

  Agreement. According to the summary of poll results (“Summary”) for the Special Meeting,

  200,492 out of the Company’s total 549,000 shares of Linkwell stock were not voted. Not 1 of

  the 200,492 shares was reflected in the Summary as being cast against the approval of the Plan of

  Merger or Merger Agreement.

         238.   After the vote, the Amended Articles of Incorporation were filed with the Florida

  Department of State. The Amended Articles of Incorporation were prepared and filed by Sidley.

         239.   The Amended Articles of Incorporation contains a new Article VI which provides

  for the indemnification of the Company’s officers and directors to the fullest extent of the law

  and specifically include “advancing expenses of officers and directors as provided in Section

  6.10 of [the Merger Agreement].” In pertinent part, this Section of the Merger Agreement

  provides:

                From and after the Effective Time, [Linkwell] shall indemnify and
                hold harmless, to the fullest extent required by the Company
                Articles of Incorporation and Company By-Laws … each present
                and former director and officer of the Company and each Company
                Subsidiary (collectively, the Indemnified Parties”) against any
                costs of expenses (including attorneys’ fees and expenses),
                judgments, fines, losses, claims, settlements, damages or liabilities
                incurred in connection with any Action, whether civil, criminal,
                administrative or investigative, arising out of or pertaining to such
                Indemnified Party’s service as a director or officer of the Company
                or Company Subsidiary or services performed by such Person and
                the request of the Company or Company Subsidiary, including (i)

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                 any and all matters pending, existing or occurring at or prior to the
                 Effective Time, and (ii) any claim arising for the transactions
                 contemplated herein, and any actions taken by [Leading First]
                 and/or [Leading World] with respect thereto (including any
                 disposition of assets of [Linkwell] or any of its Subsidiaries which
                 is alleged to have rendered [Linkwell] and/or any of its
                 Subsidiaries insolvent). (Emphasis added.)

         240.    No such indemnification provision existed in prior versions of the Company’s

  Articles of Incorporation or amendments thereto.

         241.    The Articles of Merger were subsequently filed by Sidley with the Florida

  Department of State. Pursuant to the Articles of Merger, the Plan of Merger was adopted by the

  shareholders of Linkwell on September 19, 2014.

         242.    As described in the Plan of Merger, the respective boards of directors of Linkwell

  and Leading World approved the merger with Linkwell as the surviving company, on the terms

  and conditions contained or referred to in the Merger Agreement and the shareholders of

  Linkwell approved and adopted the Merger Agreement and Plan of Merger. It further provided

  that on the effective date of the merger (September 19, 2014), in accordance with the terms of

  the Merger Agreement, the issued and outstanding shares of Linkwell will be cancelled and the

  shareholders will have the right to receive merger consideration in the amount of $0.88 per share

  of Linkwell stock.

                 4.     Plaintiff and Other Linkwell Shareholders were not
                        mailed the Notice or Proxy Statement

         243.    On October 8, 2014, Sidley drafted a cover letter to Linkwell shareholders which

  was intended to be delivered with a letter of transmittal (for the surrendering of Linkwell shares

  to obtain the merger consideration of $0.88 per share). The cover letter disclosed that the Merger

  Agreement was approved by the Company’s shareholders at the Special Meeting on September

  19, 2014, Articles of Merger were filed with Florida Department of State on the same day and, as


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  a result of the merger, Linkwell became a wholly owned subsidiary of Leading First. The cover

  letter further disclosed that, as of October 8, no shareholders had exercised their appraisal rights.

         244.    On October 15, 2014, Jue emailed Signature (and copied Chan and Huang)

  concerning the fact that Linkwell shareholders who held in street name did not receive notice of

  the Special Meeting and the Proxy Statement, writing: “I am afraid that these street holders of

  Linkwell Corporation haven’t received the Notice regarding the Merger, since there is still some

  trading of Linkwell stock recently. Could you please relay the enclosed letter to the Broadridge

  and push it to inform all these brokers about the completion of the merger.”

         245.    The email attached a signed copy of the cover letter described above which

  disclosed that, among other things, as of October 15, 2014, no shareholders had exercised their

  appraisal rights.

         246.    According to a certification provided by Securities Transfer Corporation, the

  paying agent for Linkwell in connection with the Acquisition, proxy materials were not mailed to

  Linkwell shareholders of record until October 29, 2014, more than a month after the Merger

  Agreement was purportedly approved at the Special Meeting and Articles of Merger were filed

  with the Florida Department of State.

         247.    On November 6, 2014, Plaintiff’s shares of Linkwell stock were unilaterally

  cancelled from his brokerage account at TD Ameritrade, contemporaneous with the receipt of

  $0.88 per share for his Linkwell stock.

         248.    Plaintiff was not mailed the Notice or Proxy Statement, nor was his broker TD

  Ameritrade. Other Linkwell shareholders with brokerage accounts at TD Ameritrade similarly

  did not receive the Notice or Proxy Statement.




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         249.    By letter dated December 22, 2014. Plaintiff’s broker TD Ameritrade confirmed

  that it received no materials regarding the Acquisition to forward to TD Ameritrade clients that

  owned shares of Linkwell stock.

         250.    Based on the foregoing, it is reasonable to infer that not one of the hundreds of

  Linkwell shareholders in the U.S. that held Linkwell stock in street name was sent the Notice or

  Proxy Statement.

         G.      The Acquisition was Unlawful and Unfair

         251.    As described above, the consummation of the Acquisition was procured through

  the use of a manipulative and deceptive device, artifice to defraud or acts which operated or

  could act as a fraud of deceit, willful nondisclosure, unlawful conduct, unfair dealing and/or

  impermissible conflicts of interest.

         252.    On October 26, 2014, Plaintiff discovered the Articles of Merger and the

  accompanying documents on the Florida Department of State website.

         253.    Prior to October 26, 2014, Plaintiff had no knowledge of any actual or potential

  merger transaction between Linkwell, Leading First and Leading World.

         254.    Plaintiff and other Linkwell shareholders that held their stock in street name were

  not provided with the statutory notice with respect to the Acquisition, as mandated under

  Sections 607.0705 and 607.1103 of the Florida Statutes.

         255.    The complete failure to provide such notice unlawfully and unfairly deprived

  Plaintiff and other Linkwell shareholders of the right and opportunity to: (a) evaluate whether the

  material terms of the Merger Agreement, including the $0.88 per share merger consideration,

  were fair; (b) vote on whether to approve the Merger Agreement; (c) exercise appraisal rights; or

  (d) seek an injunction to enjoin the Acquisition.



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            256.   If Plaintiff had been provided with the requisite notice, he would have moved in

  the Derivative Action to enjoin the Special Meeting. Such motion would have been meritorious

  because, as described below, the Proxy Statement was manifestly incomplete insofar as it lacks

  basic information relevant to a material transaction for the sale of 100% of the Company’s

  equity.

            257.   As described above, the failure to provide Plaintiff and other Linkwell

  shareholder that held their stock in street name with statutory notice was a strategic decision by

  Xuelian, Wei and Sidley.

            258.   Because Plaintiff was not provided the requisite notice, he did not know there was

  a material transaction to acquire all of the shares of common stock of Linkwell, and did not

  discover the Acquisition until after it was consummated.

            259.   The failure of Xuelian, Wei and Sidley to comply with Florida law and provide

  Plaintiff with statutory notice ensured that the Acquisition would be consummated and

  wrongfully prevented Plaintiff from obtaining an injunction and exercising other legal and

  statutory rights.

            260.   A principal purpose of the Acquisition was to divest Plaintiff of standing to assert

  the claims in the Derivative Action and, thereby, insulate Xuelian and Wei from liability for their

  misconduct in connection with the Transaction.            Sidley designed and implemented the

  Acquisition to accomplish this objective. The Acquisition was consummated by not providing

  Plaintiff or other Linkwell shareholders that held their stock in street name with statutory notice

  thereof. Sidley knew that Sections 607.0705 and 607.1103 of the Florida Statues required that

  notice of the shareholders’ meeting to vote on the Acquisition and notice of shareholder appraisal

  rights be timely furnished to all Linkwell shareholders. Xuelian, Wei and Sidley did not comply



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  with Florida law and, as a result, Yinling was able to acquire 100% of the equity of Linkwell

  through an inherently unfair process and at a grossly inadequate price.

          261.    Xuelian and Wei faced substantial liability for the claims asserted against them in

  connection with the Transaction for self-dealing and other breaches of fiduciary duty. By

  undertaking the Acquisition, Xuelian and Wei intended to prevent further scrutiny of their

  misconduct by the Court in the Derivative Action.

          262.    There is no legitimate business purpose to justify the Acquisition and none has

  been offered or provided. Xuelian, Wei and Sidley knew that no legitimate business purpose

  existed when they planned the Acquisition with Liyong in March 2014.

          263.    Prior to December 9, 2014, Linkwell Tech owned 100% of the equity of Likang

  Disinfectant. According to company filings with SAIC, as of December 9, 2014, Linkwell

  Tech’s equity ownership of Likang Disinfectant was reduced to 16.17%. The other 83.83% of

  Likang Disinfectant was acquired by Zhongyou Pharmaceutical. Xuelian is the controlling

  shareholder (51.17%) of Zhongyou Pharmaceutical.

          264.    Xuelian, Wei and Sidley possessed direct knowledge of the pendency of the

  Derivative Action yet failed to provide any notice of the Special Meeting to the Court or

  Plaintiff. After the Merger Agreement was approved at the Special Meeting, Xuelian, Wei and

  Sidley still failed to disclose this information to the Court or Plaintiff.

          265.    Even if Plaintiff had been provided with statutory notice, the process employed in

  connection with the Acquisition would still have been unfair.

          266.    The Proxy Statement does not contain any current financial statements (audited or

  unaudited) for Linkwell, Linkwell Tech, Likang Disinfectant or any other revenue generating

  subsidiary company. The Proxy Statement also does not contain a fairness opinion from a



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  financial advisor to address the adequacy or inadequacy of the $0.88 per share merger

  consideration for Linkwell stock.

         267.    The merger consideration paid to acquire Linkwell has no relation to the

  Company’s net assets, enterprise value or the value of the derivative claims against Defendants.

  For example, for year-end 2014, Likang Disinfectant reported in excess of $40.9 million in total

  assets and just under $4.7 million in total liabilities. A calculation of share price based on a

  valuation of net assets at approximately $36.2 million would yield a $65.94 price per share

  ($36.2 million ÷ 549,000 outstanding shares of Linkwell stock).

         268.    The $0.88 merger consideration paid to Linkwell shareholders was arrived at

  based on advice received from Sidley as no other advisors, legal or financial, are identified in the

  Proxy Statement. Moreover, Sidley served as legal counsel for both Likang Disinfectant and

  Yinling.

         269.    The $0.88 merger consideration was accepted and approved by Xuelian, Wei and

  parties that they control or with whom they are affiliated without solicitation of other bids to

  acquire Linkwell. No other bids were solicited because Xuelian and Wei stood on both sides of

  the Acquisition and, as described in paragraphs 38 and 263 above, Xuelian personally obtained a

  controlling interest in Likang Disinfectant, Linkwell’s primary revenue generating asset, after the

  Acquisition was consummated. This information was not disclosed in the Proxy Statement.

         270.    In addition, the Proxy Statement does not disclose the existence of the Derivative

  Action or attempt to value the claims pending against Xuelian and Wei, amongst others, for their

  misconduct and self-dealing in connection with the Transaction, and other parties that

  participated in such misconduct. The value of those claims are material as Xuelian and Wei

  sought to acquire for themselves Linkwell’s revenue generating assets and operations (Linkwell



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  Tech, Likang Disinfectant and Likang Biological) for zero consideration to the Company. The

  $0.88 per share merger consideration did not include any value for the claims asserted in the

  Derivative Action.

         271.    The Merger Agreement annexed to the Proxy Statement is also incomplete insofar

  as it is not even signed by the parties and does not attach the referenced schedules.

         272.    The Proxy Statement also fails to disclose Sidley’s debilitating conflicts of

  interest in violation of the Rules of Professional Conduct. Sidley did not disclose that it was

  engaged to provide legal advice and assistance to both Likang Disinfectant and Yinling in

  connection with the sale of Linkwell and a post-merger restructuring in preparation for an IPO.

  Sidley did not disclose that the real parties in interest in connection with the Acquisition were

  Xuelian, Wei and Yinling. Nor did Sidley disclose that at the same time that it was representing

  Likang and Yinling in connection with the Acquisition, it was also engaged to provide legal

  advice and assistance to adverse parties Linkwell and Xuelian and Wei in the Derivative Action.

         273.    Finally, the Proxy Statement does not disclose that the Amended Articles of

  Incorporation and the Merger Agreement were drafted and approved so that any legal fees and

  expenses incurred by and any judgments or liabilities obtained against Xuelian and Wei, among

  others, in connection with the claims asserted in the Derivative Action, or the claims arising out

  of the Acquisition, would be paid or advanced by Linkwell.

         H.      Xuelian, Wei and Sidley Take Actions to Evade Discovery, Avoid
                 Compliance with Court Orders and Terminate the Derivative Action

         274.    As described above, on January 16, 2014, the Court in the Derivative Action

  entered the Omnibus Order compelling Linkwell, among others, to answer interrogatories and

  produce documents responsive to Plaintiff’s discovery requests. Xuelian and Wei did not take

  any action to cause the Company to comply with the Omnibus Order.


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         275.    On April 18, 2014, Plaintiff moved for an Order of Contempt against Linkwell as

  a result of the failure to comply. Plaintiff’s motion was unopposed. An Order of Contempt for

  failure to comply with the Omnibus Order was issued against Linkwell on April 1, 2015 (ECF

  No. 258).

         276.    On October 31, 2014, while the motion for an Order of Contempt was pending,

  Plaintiff filed a second motion for an Order of Contempt (ECF No. 216) after the discovery of

  the Acquisition.

         277.    On November 17, 2014, Xuelian and Wei filed papers opposing Plaintiff’s

  Second Motion for an Order of Contempt against Linkwell (ECF Nos. 219, 219-1, 219-2).

  Those opposition papers included declarations from Xuelian and Wei, which were prepared with

  the advice and assistance of Sidley. The declarations affirmed under the penalty of perjury that,

  effective July 18, 2014, Xuelian and Wei resigned their positions as directors and officers of

  Linkwell and no longer hold any position with the Company.

         278.    Sidley knew at the time the declarations were prepared and executed, that the

  statements therein were false. Sidley possessed contemporaneously executed Statements on Lost

  Share Certificates, each of which was signed by Xuelian on behalf of Linkwell. The Statements

  on Lost Share Certificates are respectively dated November 5, 2014 and November 10, 2014, and

  post-date the claimed resignation by Xuelian by almost 4 months. Sidley knew that Xuelian nor

  Wei had not resigned from their positions at Likang Disinfectant – the company responsible for

  almost all of Linkwell’s revenues and profits and paying Sidley’s legal fees to represent

  Linkwell, Xuelian and Wei in the Derivative Action.        Sidley knew that Xuelian and Wei

  controlled Linkwell through their management and control of Likang Disinfectant. Sidley also

  knew that Linkwell shares the same registered address and office space as Likang Disinfectant.



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  Sidley nonetheless permitted Xuelian and Wei to declare under the penalty of perjury that they

  resigned in July and were no longer affiliated with the Company.

         279.      In January 2015, Huang emailed the Statements on Lost Share Certificates to the

  Company’s paying agent, Stock Transfer Corporation, so that the Linkwell stock certificates

  could be cancelled. Jue, Liyong and Chan were copied on the email.

         280.      On April 1, 2015, the Court entered an Order (ECF No. 258) denying Plaintiff’s

  second motion on grounds that the relief requested against Xuelian and Wei is inappropriate at

  this time. Objections to the Order were subsequently filed. On September 29, 2015, the Court

  ruled on the objections and entered an Endorsed Order (ECF No. 322) finding, among other

  things, that an Order of Contempt could not be enforced as against Xuelian and Wei because

  “they are no longer directors of the corporation.”

         281.      Neither Xuelian, nor Wei clarified to the Court or Plaintiff whether the Statements

  on Lost Share Certificates, which were signed by Xuelian on behalf of Linkwell, require the

  withdrawal of the declarations submitted by Xuelian and Wei in November 2014.

         282.      On January 8, 2015, Plaintiff served requests for production of documents

  (“Requests”) upon Xuelian and Wei.

         283.      On March 11, 2015, Plaintiff filed a motion to compel in connection with the

  Requests.

         284.      On April 10, 2015, the Court issued an Order (ECF No. 265) granting the motion

  to compel consistent with its oral rulings of April 9, 2015 (ECF No. 285) (“April 9, 2015

  Hearing Tr.”).

         285.      On April 14, 2015, in accordance with the Order, Buchanan Ingersoll & Rooney

  PC (“Buchanan”) (counsel appearing for Xuelian and Wei in the Derivative Action) delivered a



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  letter to Sidley, in its capacity as counsel for Linkwell, and requested on behalf of Xuelian and

  Wei copies of all documents responsive to the Requests in the Company’s possession, custody or

  control.

         286.    On April 28, 2015, Xuelian and Wei produced limited documents purportedly

  obtained from Linkwell and Sidley. As a result of material gaps in the production, Plaintiff

  served Sidley with a subpoena on October 20, 2015 (“Subpoena”).

         287.    On October 8, 2015, Xuelian and Wei moved to dismiss the Derivative Action for

  lack of standing.

         288.    On December 4, 2015, Xuelian and Wei moved to quash the Subpoena (“Motion

  to Quash”) in the United States District Court of the Southern District of New York (In re

  Subpoena to Sidley Austin LLP, No. 15-Misc-375) (“MC Case”).

         289.    In support of the Motion to Quash, counsel for Xuelian and Wei submitted a

  declaration which asserted, among other things, that Xuelian and Wei “shared a common interest

  in the outcome of the Lawsuit with each other and with … Linkwell” and that Xuelian, Wei and

  Linkwell have a “common cause of securing dismissal of the Lawsuit.”

         290.    On December 21, 2015, in apparent response to Plaintiff’s argument in opposition

  that the interests of Linkwell, on one hand, and Xuelian and Wei, on the other, were adverse,

  Tom Paskowitz, a partner in Sidley’s New York office, filed a declaration in support of the

  Motion to Quash which, in relevant part, stated:

                 On April 4, 2014, Sidley entered into an engagement letter with
                 [Likang Disinfectant] to assist with a going-private transaction of
                 Linkwell … that was then under consideration.

                 On April 22, 2014, Sidley and [Likang Disinfectant] entered into a
                 supplement of the April 4, 2014 engagement letter, pursuant to
                 which Sidley agreed to represent Linkwell, [Xuelian] and [Wei] in
                 connection with the [Derivative] Action.


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                After service of process was effected on [Xuelian] and [Wei] in the
                [Derivative] Action, and each resigned as a director of Linkwell, I
                negotiated an extension of time for [Xuelian] and [Wei] to answer,
                move, or otherwise respond to the complaint. That stipulation,
                however, was signed by Buchanan Ingersoll & Rooney PC
                (“Buchanan”) on behalf of [Xuelian] and [Wei], and Sidley has not
                appeared on behalf of [Xuelian] and [Wei] in the [Derivative]
                Action.

                However, Sidley has continued to work with [Xuelian] and [Wei]
                in connection with the [Derivative] Action, including to facilitate
                communications between [Xuelian], [Wei], and Buchanan.

                Sidley has not terminated its representation of [Xuelian] and [Wei]
                in connection with the [Derivative] Action.

  (MC Case, ECF No. 19-1).

         291.   At no prior time had Sidley disclosed that it simultaneously represented Linkwell,

  Xuelian and Wei in the Derivative Action.

         292.   Notably, on March 23, 2015, Plaintiff moved for an entry of default against

  Linkwell at the Court’s instruction as a result of the Company’s failure to appear, file or serve

  any responsive papers or comply with discovery. Even though Sidley served as counsel to

  Linkwell at the time the motion was filed, Sidley did not appear on the Company’s behalf to

  oppose it. An entry of default (ECF No. 252) was issued by the Clerk of the Court against

  Linkwell in the Derivative Action on March 24, 2015.

         293.   At no prior time did Buchanan disclose to Plaintiff or the Court that their clients,

  Xuelian and Wei, and Linkwell were being jointly represented by Sidley in the Derivative

  Action. To the contrary, Buchanan represented to the Court that Xuelian and Wei had no

  relation to the Company:

                THE COURT: So you are representing to me, as an officer of the
                court, that they have cut their ties and they no longer officially
                belong to the company, right?

                MR. VILLENEUVE: Absolutely, Your Honor. …

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  April 9, 2015 Hearing Tr. at 12:18-21.

         294.   During the February 8, 2016 argument on the Motion to Quash and the Motion to

  Compel Sidley, the Court noted the vast change in Buchanan’s position:

                THE COURT: And also, counsel for defendants, okay, my
                recollection, and I have a couple thousand cases, but I remember
                repeatedly Xuelian and Wei saying, we can’t get ahold of these
                records because we are not officers anymore of Linkwell.

                Counsel for plaintiff, am I off on a deserted island here?

                MR. HECHT: No, you’re not.

                THE COURT: Now, without dancing around, let’s address that.
                You were here, you argued that … they can’t comply because they
                are no longer officers of Linkwell. Do you follow me that was your
                main argument as a matter of fact? Address that directly.

                MR. VILLENEUVE: Okay. Your Honor, I believe our position is
                that because they were not officers of Linkwell, they did not have
                legal custody and control of those documents and thus they were
                not required or able to produce them.

                THE COURT: Well, I just had -- you are here on this case, you
                know, and it’s represented by Sidley’s pleadings that they
                represent these fellows personally. They represent Linkwell. Am I
                missing something here? You could be Fred Astaire and you won’t
                be able to dance out of that one.

                MR. VILLENEUVE: Your Honor, I’m not trying to dance. The
                fact that Sidley represents Linkwell and represents our clients
                doesn’t mean that our clients have custody and control and
                possession of Linkwell documents. There was never a case
                presented and I don’t know of any case that says, because your law
                firm represents another defendant, you have custody and control of
                that defendant’s documents.

                THE COURT: They represent Linkwell. They represent Xuelian
                and Wei. Do you follow me? Xuelian and Wei say we are not
                officers of Linkwell, repeatedly saying that in federal court, and
                now Sidley enters an appearance on behalf of Wei and Xuelian and
                Linkwell.

                MR. VILLENEUVE: Your Honor, I don’t think Sidley has entered
                an appearance on behalf of them. What we have said is we are co-


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              counsel and so our communications with Sidley should not be
              discoverable and --

              THE COURT: Wait. Who is co-counsel?

              MR. VILLENEUVE: The law firm of Buchanan, Ingersoll &
              Rooney which represents Xuelian Bian and Wei Guan is co-
              counsel with the law firm of Sidley Austin which --

              THE COURT: Who represents Xuelian and Wei and Linkwell?

              MR. VILLENEUVE: Yes, Your Honor.

              THE COURT: I’ll just leave that speak for itself.

              …

              MR. UNGER: In August or in July, I believe, Mr. Bian and Guan,
              they resigned as officers and directors of Linkwell, but the
              attorney-client relationship did not end just because they resigned
              at that point. We had been retained to represent them in regard to
              the derivative action. And then what happened was we assisted …
              those two individuals --

              THE COURT: Derivative action?

              MR. UNGER: This action, Your Honor.

              …

              THE COURT: Now, you heard counsel for plaintiff saying, and he
              was quite correct, I have addressed all those things, I have
              repeatedly addressed all those things. Do you follow me.

              MR. UNGER: And as I understand, Your Honor, you are
              suggesting --

              THE COURT: You are saying this is a new argument. The firm
              itself is coming in and asserting, to simplify things, the same – it’s
              for a different reason. Before they said, well, we don’t have the
              power because we are no longer officers. But when they first came
              into your office, correct, they were still officers, were they not?

              MR. UNGER: Yes, Your Honor.

              THE COURT: Okay.

              MR. UNGER: I am not addressing --


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                 THE COURT: So there’s something the matter here because if
                 they came in and they were still officers and their first visit to you
                 was after the derivative action was filed and they were in my court
                 claiming that they were not officers and they no longer had the
                 ability to produce records, tell me what I am missing here.

                 MR. UNGER: They did not make that claim prior to the time they
                 resigned, Your Honor. When they --

                 THE COURT: They made that claim here in court.

                 MR. UNGER: When they made that claim, they were no longer
                 officers and directors, that’s correct. There’s nothing inaccurate
                 about that claim. At the time that they were before you and said
                 they were no longer officers and directors, that was true. And as a
                 result --

                 THE COURT: Because after they came in and they were
                 represented by you, during that time, they resigned. Is that what
                 you are saying?

                 MR. UNGER: They resigned in July of 2014. We had -- yes, we
                 had been representing them --

                 THE COURT: Okay.

  Feb. 8, 2016 Hearing Tr. (ECF No. 355) at 10:22 - 12:17, 44:4-11, 45:9 - 46:18.

         295.    On February 10, 2016, an Order (ECF No. 354) was issued denying the Motion to

  Quash and granting the Motion to Compel Sidley consistent with the oral rulings made on

  February 8.

         296.    Sidley subsequently produced certain documents responsive to the Subpoena

  (including the Statements on Lost Share Certificates described in paragraphs 278-79 above)

  which confirm that Xuelian and/or Wei, at all relevant times, exercised control over Linkwell,

  either directly or through their management and control of Likang Disinfectant, and possessed

  the practical ability to obtain the documents sought in the Requests insofar as those documents

  reside in the shared office space of Likang Disinfectant and Linkwell in China.




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         297.    Xuelian, Wei and Sidley engaged in a pattern of obfuscation and deceit to

  frustrate Plaintiff’s efforts in the Derivative Action to obtain relevant discovery regarding the

  Transaction and Acquisition.

         298.    On April 11, 2016, the Court issued an Order (ECF No. 369) (“April 11, 2016

  Order”) which dismissed, without prejudice, the Derivative Action for lack of standing as

  Plaintiff was no longer a shareholder of the Company, and declined to determine whether an

  equitable exception to the continuous ownership rule was applicable under the circumstances.

  On June 8, 2016, the Court issued an Order (ECF No. 391) (“June 8, 2016 Order”) denying

  Plaintiff’s motion for reconsideration of the April 11, 2016 Order.

  VII.   CLASS ACTION ALLEGATIONS

         299.    Plaintiff brings this action on behalf of himself and as a class action, pursuant to

  the provisions of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of all

  Linkwell common shareholders (the “Class”) whose shares of Linkwell stock were sold in

  connection with the Acquisition, and were damaged thereby.

         300.    Excluded from the Class are Xuelian and Wei, Sidley and its employees or agents,

  Yinling, Leading First and Leading World (“Class Defendants”) and their subsidiaries and

  affiliates, all persons that voted in to approve the Merger Agreement and all persons who make a

  timely request to be excluded from the Class. Plaintiff reserves the right to revise the Class

  definition based upon information obtained through discovery.

         301.    Certification of Plaintiff’s claims for class-wide treatment is appropriate because

  Plaintiff can prove the elements of his claims on a class-wide basis using the same evidence as

  would be used to prove those elements in individual actions alleging the same claim.

         302.    This action has been brought and may be properly maintained on behalf of the

  Class proposed herein under Federal Rule of Civil Procedure 23.
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           303.   The members of the Class are so numerous and geographically dispersed that

  individual joinder of all Class members is impracticable. Plaintiff believes that there are more

  than 300 members of the Class that reside in the United States. Class members may be notified

  of the pendency of this action by recognized, Court-approved notice dissemination methods,

  which may include U.S. mail, electronic mail, Internet postings, and/or published notice.

           304.   This action involves common questions of law and fact, which predominate over

  any questions affecting individual Class members, including, without limitation:

                  a.        Whether the federal securities laws were violated by Class Defendants’

  acts as alleged herein;

                  b.        Whether Class Defendants, by their design, implementation and

  consummation of the Acquisition without the provision of any notice of the same to Plaintiff and

  the Class, employed a scheme or artifice to defraud, or engaged in acts, practices or a course of

  conduct which operated as a fraud on deceit in connection with sale of Class members’ Linkwell

  stock;

                  c.        Whether Class Defendants breached their fiduciary duties and/or aided

  and abetted breaches of fiduciary duties to Plaintiff and the Class as alleged herein;

                  d.        Whether Class Defendants conspired to acquire 100% of the equity of

  Linkwell through an unlawful and unfair process; and

                  e.        Whether $0.88 per share was fair value for the Linkwell stock owned by

  Plaintiff and the other members of the Class.

           305.   Plaintiff’s claims are typical of the other Class members’ claims because, among

  other things, all Class members were comparably injured through the wrongful conduct of

  Defendants as described above.



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         306.    Plaintiff is an adequate Class representative because his interests do not conflict

  with the interests of the other member of the Class he seeks to represent. Plaintiff has retained

  counsel competent and experienced in complex class action litigation. The interests of the Class

  will be fairly and adequately protected by Plaintiff, who intends to prosecute this action

  vigorously.

         307.    A class action is superior to any other available means for the fair and efficient

  adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

  management of this class action. The injury or other financial detriment suffered by Plaintiff and

  the other Class members are relatively small compared to the burden and expense that would be

  required to individually litigate their claims against Defendants. It would be impracticable for

  Plaintiff and the members of the Class to individually seek redress for Class Defendants’

  wrongful conduct.

         308.    Even if Class members could afford individual litigation, the court system could

  not. Individualized litigation creates a potential for inconsistent or contradictory judgments, and

  increases the delay and expense to all parties and to the court system. By contrast, the class

  action device presents far fewer management difficulties, and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court.




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  VIII. CAUSES OF ACTION

                                             COUNT I

              VIOLATION OF SECTION 10(b) OF THE EXCHANGE ACT AND
                     RULE 10B-5 PROMULGATED THEREUNDER
                           (Against Xuelian, Wei and Sidley)

         309.    Plaintiff incorporates by reference and realleges each and every allegation in

  paragraphs 1-308 above, as though fully set forth herein.

         310.    By their acts, transactions and courses of conduct, as alleged in paragraphs 67-72,

  180-86, 191-94, 199-214, 243-64 and 267-70 above, Xuelian, Wei and Sidley knowingly and/or

  recklessly deceived the Class, including Plaintiff, in connection with the sale of the shares of

  their Linkwell stock by the failure to provide the Class with statutory notice concerning the

  Acquisition, as required by Sections 607.0705 and 607.1103 of the Florida Statutes.

         311.    Xuelian, Wei and Sidley each violated Section 10(b) of the Exchange Act and

  Rule 10b-5(a) and (c) by covertly engineering the Acquisition and refusing to disclose any

  material fact regarding the same to Plaintiff and the Class, which operated as fraud and deceit

  upon Plaintiff and the Class by: (a) divesting Plaintiff and Class members of their equity in

  Linkwell through the unilateral sale of their shares of Linkwell stock – without paying them fair

  value therefor; and (b) preventing Plaintiff and Class members from moving to enjoin the

  Acquisition prior to its consummation.       Sidley was the architect of the Acquisition and

  represented all parties thereto.

         312.    As directors, officers and controlling shareholders of Linkwell at the time they

  determined to undertake the Acquisition, Xuelian and Wei had a fiduciary obligation to disclose

  truthful information that would be material to Linkwell shareholders in compliance with

  applicable laws and regulations. Xuelian and Wei had a fiduciary obligation to Plaintiff and the

  Class to disclose that the Company had entered into a material transaction for the sale of 100%

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  of its equity to Yinling. As legal counsel in connection with the Acquisition, Sidley was

  responsible for ensuring that the Acquisition complied with applicable laws and regulations.

  Sidley knew that Xuelian and Wei had a fiduciary obligation to disclose all material facts

  relating to the Acquisition to Plaintiff and the Class. Sidley also knew that Xuelian and Wei had

  not discharged their fiduciary obligation because no notice or other information regarding the

  Acquisition was furnished to Plaintiff or the Class. Sidley made the decision to not provide any

  notice regarding the Acquisition, or other information in connection with the same, to Plaintiff or

  the Class.

         313.    Pursuant to Sections 607.0705 and 607.1103 of the Florida Statutes, Xuelian, Wei

  and Sidley were obligated to timely furnish notice regarding the Acquisition and shareholder

  appraisal rights to all Linkwell shareholders at least 10 days in advance of the Special Meeting.

  Sidley, acting in concert with Xuelian and Wei, did not provide Plaintiff (or his broker) or other

  Class members (or their brokers) with the requisite notice.

         314.    The knowing and/or grossly reckless nondisclosure of any facts regarding the

  Acquisition (including the existence of the Acquisition itself) by Xuelian, Wei and Sidley

  operated as a fraud and deceit upon Plaintiff and the other members of the Class.

         315.    The facts alleged herein give rise to a strong inference that Xuelian, Wei and

  Sidley acted with scienter. Xuelian, Wei and Sidley each knew or with extreme recklessness

  disregarded their fiduciary obligation and/or legal duty to provide all shareholders of Linkwell

  with statutory notice regarding the Acquisition and shareholder appraisal rights and that their

  complete failure to do so would operate as a fraud and deceit upon Plaintiff and the Class.

  Xuelian, Wei and Sidley each knew that the purpose of the Acquisition was to terminate the




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  claims asserted against Xuelian and Wei in the Derivative Action and obtain control of

  Linkwell’s disinfectant business for themselves.

         316.    Xuelian, Wei and Sidley carried out a deliberate scheme to deceive or defraud

  Plaintiff and the Class by the nondisclosure of the Acquisition with the intent to prevent any

  litigation brought by Plaintiff or any member of the Class with respect to the Acquisition prior to

  its consummation. As described in paragraphs 180-209 above, Sidley was an active participant

  in the scheme to prevent the disclosure of the Acquisition to Plaintiff and the Class. Moreover,

  as described in paragraphs 180-89, 191-94, 199-203, 205-07, 209, 213-14, 257-60, 264 and 272-

  73 above, Sidley was the architect of the design, implementation and consummation of the

  Acquisition.

         317.    Xuelian, Wei and Sidley, individually and in concert, directly and indirectly, by

  the use, means or instrumentalities of interstate commerce and/or the mails, made or

  substantially participated in the unlawful and/or fraudulent conduct described above.

         318.    If Xuelian, Wei and/or Sidley had complied with Florida law and provided

  statutory notice in connection with the Acquisition, Plaintiff would have moved for an injunction

  in this action. As a result of their knowing or grossly reckless disregard of Florida law, and their

  fiduciary obligation and/or legal duty to provide notice to all Linkwell shareholders in

  connection with the Acquisition, Plaintiff was wrongfully deprived of the opportunity to enjoin

  the Acquisition or exercise other rights, including appraisal rights.

         319.    As a direct and proximate result of the wrongful conduct of Xuelian, Wei and

  Sidley, Plaintiff and the other Class member suffered damages in connection with the sale of

  their Linkwell stock for substantially less than fair value.




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          320.       Xuelian, Wei and Sidley are liable to Plaintiff and the Class in an amount to be

  proven at trial.

                                                 COUNT II

                                    BREACH OF FIDUCIARY DUTY
                                       (Against Xuelian and Wei)

          321.       Plaintiff incorporates by reference and realleges each and every allegation in

  paragraphs 1-308 above, as though fully set forth herein.

          322.       As directors, officers and controlling shareholders of Linkwell at the time they

  determined to undertake the Acquisition, Xuelian and Wei owed Plaintiff and the Class fiduciary

  obligations of loyalty, good faith, due care and disclosure.

          323.       Xuelian and Wei violated their fiduciary obligations by determining to covertly

  enter and consummate the Acquisition: (a) for the purpose of terminating the claims asserted

  against them in the Derivative Action; and (b) without regard to the fairness of the Acquisition to

  Plaintiff and the Class.

          324.       By their acts, transactions and courses of conduct, as described in paragraphs 67-

  72, 179-86, 191, 194, 199-200, 206-07, 214-22, 233-36, 239-40, 243-51, 254-57 and 259-78

  above, Xuelian and Wei, individually and acting as part of a common plan, advanced their

  interests at the expense of Plaintiff and the Class.

          325.       The Acquisition was implemented by and for the benefit of Xuelian and Wei, who

  stood on both sides of the transaction. As such, Xuelian and Wei must establish the entire

  fairness of the transaction.

          326.       Xuelian and Wei breached their fiduciary duties to Plaintiff and the Class by,

  among other things:




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                  a.     Unlawfully and unfairly depriving Plaintiff and other public shareholders

  of Linkwell that held their stock in street name statutory notice of the Acquisition and their

  appraisal rights, in violation of Sections 607.0705 and 607.1103 of the Florida Statutes;

                  b.     Failing to properly value Linkwell for purposes of the Acquisition,

  including the value of the claims asserted in the Derivative Action;

                  c.     Failing to properly maximize the value of Linkwell to its public

  shareholders;

                  d.     Agreeing to consummate the Acquisition at a price that does not

  adequately reflect Linkwell’s true value;

                  e.     Failing to ensure a fair process;

                  f.     Failing to disclose all material information that would allow Linkwell

  public shareholders to cast a fully informed vote on the Acquisition;

                  g.     Failing to disclose all material information about the Special Meeting so

  as to allow Linkwell public shareholders to vote on whether to approve the Merger Agreement;

                  h.     Causing Linkwell to retroactively and prospectively indemnify them for

  all costs and expenses incurred in the Derivative Action and in connection with the Acquisition;

  and

                  i.     Failing and/or refusing to disclose that after the Acquisition was

  consummated, Xuelian would own the controlling equity interest in Likang Disinfectant.

         327.     As directors, officers and/or controlling shareholders of Linkwell and Likang

  Disinfectant, Xuelian and Wei dominated and controlled the Company’s business and corporate

  affairs and were in possession of non-public information concerning the assets, business and

  future prospects of Linkwell, Linkwell Tech, Likang Disinfectant and Likang Biological. Thus,



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  there was an imbalance and disparity of information between Xuelian and Wei, on one hand, and

  the public shareholders of Linkwell, on the other, that made it inherently unfair for Xuelian and

  Wei to pursue any transaction where they obtained disproportionate benefits from the

  Acquisition, to the detriment of the Company’s public shareholders.

           328.   By reason of the foregoing acts, practices and course of conduct, Xuelian and Wei

  failed to exercise ordinary care and diligence in discharging their fiduciary obligations to

  Plaintiff and the Class.

           329.   Xuelian and Wei engaged in self-dealing, did not act in good faith towards

  Plaintiff and the Class and failed to disclose material facts regarding the Acquisition in breach of

  their fiduciary obligations to Plaintiff and Class members.

           330.   As a direct and proximate result of the foregoing breaches of fiduciary duty by

  Xuelian and Wei, Plaintiff and Class members suffered significant damages.

           331.   Xuelian and Wei are liable to Plaintiff and the Class in an amount to be proven at

  trial.

                                             COUNT III

                  AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                   (Against Sidley, Yinling, Leading First and Leading World)

           332.   Plaintiff incorporates by reference and realleges each and every allegation in

  paragraphs 1-308 above, as though fully set forth herein.

           333.   Sidley, Yinling, Leading First and Leading World aided and abetted and rendered

  substantial assistance in the wrongful conduct complained of in paragraphs 321-30. In taking

  such actions to substantially assist the commission of wrongdoing complained of, Sidley Yinling,

  Leading First and Leading World acted with knowledge of the primary wrongdoing, and were

  aware of their overall contribution to and furtherance of the wrongdoing.


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         334.    Sidley, Yinling, Leading First and Leading World provided material support to

  Xuelian and Wei in connection with the Acquisition.

         335.    Sidley, Yinling, Leading First and Leading World knew that Xuelian and Wei

  were Defendants in the Derivative Action and that the claims against them involved serious

  charges of wrongdoing in breach of their fiduciary duties to Linkwell and its public shareholders.

         336.    Sidley, Yinling, Leading First and Leading World knew that Xuelian and Wei, as

  directors, officers and/or controlling shareholders of Linkwell, were acting in breach of their

  fiduciary duties to Plaintiff and the Class when they determined to undertake a going-private

  merger transaction to terminate the then pending claims in the Derivative Action without

  providing notice to all of the Company’s shareholders, including Plaintiff.

         337.    Sidley, Yinling, Leading First and Leading World knew that the Acquisition was

  not an arm’s length transaction as all parties to the Acquisition were represented by the same

  legal counsel and Xuelian and Wei stood on both sides of the transaction.

         338.    Sidley, Yinling, Leading First and Leading World knew that Xuelian and Wei, as

  directors, officers and/or controlling shareholders of Linkwell, were acting in breach of their

  fiduciary duties to Plaintiff and the Class when they approved and recommended approval of

  Acquisition for grossly inadequate consideration (less than $500,000).

         339.    Sidley, Yinling, Leading First and Leading World also knew that Plaintiff and the

  Class were not provided with statutory notice of the Special Meeting or their appraisal rights

  under Florida law.

         340.    As described in paragraphs 179-86, 191-94, 199-222, 238-41, 243-48, 251, 254-

  73, 277-81, 284-91, 293-94 and 296-97 above, Sidley provided substantial assistance to Xuelian

  and Wei by, among other things:



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                 a.     Undertaking the representation of Likang Disinfectant and Yinling in the

  Acquisition despite knowledge that the interests of Likang Disinfectant and Yinling were adverse

  and that such representation violated the Rules of Professional Conduct (ABA Model Rules of

  Professional Conduct 1.7 and 1.13; New York Rules of Professional Conduct 1.7 and 1.13)

  irrespective of the waivers obtained;

                 b.     Undertaking the representation of Linkwell, Xuelian and Wei in the

  Derivative Action despite knowledge that the interests of Linkwell were adverse to the interests

  of Xuelian and Wei and that such representation violated the Rules of Professional Conduct

  (ABA Model Rules of Professional Conduct 1.7 and 1.13; New York Rules of Professional

  Conduct 1.7 and 1.13);

                 c.     Condoning, acquiescing, assisting, acting in concert and/or participating in

  the actions of Xuelian and Wei to procure through fraud, deceit and/or unfair dealing the

  consummation of the Acquisition for the purpose of terminating the claims in the Derivative

  Action and obtaining control of Likang Disinfectant;

                 d.     Providing legal advice and assistance to Xuelian, Wei, Yinling, Leading

  First and Leading World for the purpose of entering and consummating the Acquisition;

                 e.     Omitting to disclose the following material information in the Proxy

  Statement:

                        i.      The pendency of the Derivative Action;

                        ii.     That a primary purpose of the Acquisition was to terminate the

  Derivative Action;




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                         iii.   That Sidley served as legal counsel for both Likang Disinfectant

  and Yinling in the Acquisition whereby Leading First, a wholly owned subsidiary of Yinling

  acquired 100% of the equity of Linkwell for $0.88 per share; and

                         iv.    That Sidley served as legal counsel for Linkwell, Xuelian and Wei

  in connection with the claims asserted only against Xuelian and Wei in the Derivative Action

  and had not requested or obtained the consent or a waiver of conflicts from anyone, including the

  Company’s public shareholders, with respect to such representation;

                 f.      Failing to provide any financial statements of Linkwell (audited or

  unaudited) or financial projections for Linkwell in the Proxy Statement;

                 g.      Failing to include a fairness opinion or other financial analysis of the

  merger consideration in the Proxy Statement;

                 h.      Failing to provide a valuation of the claims asserted in the Derivative

  Action in the Proxy Statement;

                 i.      Failing to ensure that Plaintiff and members of the Class were provided

  with notice in connection with the Acquisition or notice of their appraisal and other rights, as

  mandated by Sections 607.0705 and 607.1103 of the Florida Statutes;

                 j.      Drafting the Amended Articles of Incorporation to shield Xuelian and Wei

  from personal liability arising as a result of the Derivative Action and the Acquisition, and to

  indemnify Xuelian and Wei, amongst others, for fees and expenses previously incurred and to be

  incurred by in connection with the defense of the same;

                 k.      Failing to timely disclose information regarding the Acquisition to the

  Court and Plaintiff;




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                 l.      Failing to timely disclose to the Court and Plaintiff that it represented

  Linkwell, Xuelian and Wei in the Derivative Action;

                 m.      Acting in concert and complicity with Xuelian and Wei by, inter alia,

  causing the Company to not comply with the Orders of the Court and its obligations under the

  Federal Rules of Civil Procedure;

                 n.      Failing to inform the Court and Plaintiff that Xuelian presently exercises

  control over Linkwell and its corporate documents which are located at the same address as

  Likang Disinfectant;

                 o.      Participating in the preparation, review and filing of declarations by

  Xuelian and Wei, which declarations Sidley knew to be false and/or misleading; and

                 p.      Failing to inform the Court and Plaintiff regarding the falsity in the

  declarations of Xuelian and Wei, filed with the Court on November 17, 2014.

         341.    As described in paragraphs 181-82, 193 and 215-22 above, Yinling provided

  substantial assistance to Xuelian and Wei by, among other things:

                 a.      Agreeing, through Leading First and Leading World, to be a party to the

  Merger Agreement;

                 b.      Agreeing to the implementation of the Acquisition and the vote to approve

  the Merger Agreement at the Special Meeting without the provision of notice to all of the

  Company’s shareholders; and

                 c.      Operating as the agent or intermediary of Xuelian, Wei and/or Sidley in

  order to divest Plaintiff of his shares of Linkwell stock and thereby terminate the derivative

  claims asserted in this action.




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         342.    As a direct and proximate result of the aiding and abetting breaches of fiduciary

  duty by Sidley, Yinling, Leading First and Leading World, Plaintiff and Class members suffered

  significant damages.

         343.    Sidley, Yinling, Leading First and Leading World are liable to Plaintiff and the

  Class in an amount to be proven at trial.

                                              COUNT IV

                                      CIVIL CONSPIRACY
                             (Against Xuelian, Wei, Sidley and Yinling)

         344.    Plaintiff incorporates by reference and realleges each and every allegation in

  paragraphs 1-308 above, as though fully set forth herein.

         345.    As described in paragraphs 67-72, 180-86, 190-94, 199-222, 233-41, 243-51 and

  254-73 above Xuelian, Wei, Sidley and Yinling conspired with one another to covertly enter and

  consummate the Acquisition without notice to Plaintiff or the Class, in violation of Sections

  607.0705 and 607.1103 of the Florida Statutes, whereby the Class members’ Linkwell stock was

  acquired through an unlawful and unfair process and at a grossly inadequate price.

         346.    Xuelian, Wei, Sidley and Yinling agreed to covertly enter the Acquisition in order

  to ensure that the same was consummated before Plaintiff or any other Class member had the

  opportunity to: (a) evaluate whether the $0.88 per share merger consideration was fair; (b) vote

  for or against the approval of the Merger Agreement; (c) exercise appraisal rights; or (d) move to

  enjoin the Acquisition.

         347.    Xuelian and Wei violated their fiduciary obligations to Plaintiff and the Class by

  determining to enter and consummate the Acquisition without the provision of notice and

  without regard to the fairness of the Acquisition to Plaintiff and the Class.




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         348.    Sidley and Yinling knew that the Acquisition was not an arm’s-length transaction

  since all parties to the Acquisition had agreed to be represented by the same legal counsel

  (Sidley) and Xuelian and Wei stood on both sides of the transaction.

         349.    Sidley and Yinling each knew that Xuelian and Wei, as directors, officers and/or

  controlling shareholders of Linkwell, were acting in breach of their fiduciary obligations to

  Plaintiff and the Class when they approved and recommended approval of Acquisition without

  notice and for grossly inadequate consideration.

         350.    Sidley and Yinling also knew that Plaintiff and Class members did not receive

  statutory notice of the Special Meeting or their appraisal rights.

         351.    In furtherance of the conspiracy, the following actions were undertaken:

                 a.      Sidley prepared the Proposal at the behest of Xuelian and Liyong;

                 b.      Xuelian and Sidley executed the Likang Engagement Letter whereby

  Sidley was retained as legal counsel for Likang Disinfectant in connection with the Acquisition;

                 c.      Sidley filed the Notice of Termination on behalf of Linkwell with the SEC

  to avoid the SEC proxy rules;

                 d.      Xuelian and Sidley executed the Supplement whereby Sidley: (i) was

  retained as legal counsel for Linkwell, Xuelian and Wei for the claims asserted against Xuelian

  and Wei asserted in the Derivative Action; and (ii) undertook the representation with full

  knowledge that the interests of Linkwell were adverse to the interests of Xuelian and Wei and

  that such representation violated the Rules of Professional Conduct;

                 e.      Yinling and Sidley executed an engagement letter whereby Sidley: (i) was

  retained as legal counsel for Yinling in connection with the Acquisition; and (ii) undertook the

  representation of Yinling with full knowledge that the interests of Yinling and Likang



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  Disinfectant in connection with the Acquisition were adverse and that such representation

  violated the Rules of Professional Conduct;

                  f.       Sidley provided legal advice to Xuelian and Wei for the purpose of

  terminating their liability to Linkwell;

                  g.       Xuelian, Wei, Sidley and Yinling agreed not to provide Plaintiff or the

  Class with the Notice, Proxy Statement or notice of their appraisal rights;

                  h.       Sidley prepared the Amended Articles of Incorporation;

                  i.       Xuelian and Wei caused Linkwell to consummate the Acquisition with

  Yinling (through Leading First and Leading World); and

                  j.       Plaintiff and Class members were divested of their shares of Linkwell

  stock without ant notice and for grossly inadequate value.

          352.    As a direct and proximate result of the foregoing misconduct, Plaintiff and the

  Class suffered significant damages.

          353.    Xuelian, Wei, Sidley and Yinling are liable to Plaintiff and the Class in an amount

  to be proven at trial.

  IX.     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment as follows:

                  a.       Declaring that the claims in connection with the Acquisition are properly

  maintainable as a class action under Rules 23(a) and (b)(3) of the Federal Rules of Civil

  Procedure, certifying Plaintiff as class representative and appointing Wolf Haldenstein Adler

  Freeman & Herz LLP and Fischler & Friedman, P.A. as class counsel pursuant to Rule 23(g);

                  b.       Determining that Xuelian, Wei and Sidley violated the Exchange Act by

  reason of the fraudulent and deceitful acts and nondisclosures alleged herein;



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                    c.     Determining that Xuelian and Wei breached their fiduciary duties to the

  Class;

                    d.     Determining that Sidley, Yinling, Leading First and Leading World aided

  and abetted the breaches of fiduciary duties by Xuelian and Wei;

                    e.     Determining that Xuelian, Wei, Sidley and Yinling conspired with one

  another the covertly enter and consummate the Acquisition;

                    f.     Awarding Plaintiff and the Class compensatory damages against all

  Defendants in connection with Counts I through IV above, jointly and severally, in an amount to

  be determined at trial, together with prejudgment interest thereon;

                    g.     Awarding Plaintiff and the Class their reasonable costs and expenses

  incurred in this action, including reasonable attorneys’ and experts’ fees, costs and expenses; and

                    h.     Granting Plaintiff and the Class such other and further relief as the Court

  deems just and proper.

                                    DEMAND FOR JURY TRIAL

             Plaintiff, on behalf of himself and the Class, demands a trial by jury of all issues so

  triable.

  Dated: October 24, 2016

                                                         FISCHLER & FRIEDMAN, P.A.


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